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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA

  IN RE: CAPITAL ONE CUSTOMER
  DATA SECURITY BREACH LITIGATION               MDL No. 1:19-md-2915 (AJT/JFA)


  This Document Related to ONLY the following
  case:                                         Case No. 1:19-cv-1472 (AJT)


  MARCUS MINSKY, Individually and On Behalf
  of All Others Similarly Situated,

                            Plaintiff,

               vs.

  CAPITAL ONE FINANCIAL CORPORATION,
  RICHARD FAIRBANK, ROBERT
  ALEXANDER, and MICHAEL JOHNSON,
                           Defendants.


   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL
                         SECURITIES LAWS
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            Lead Plaintiff Edward Shamoon, individually and on behalf of all other persons similarly

  situated, by his undersigned attorneys, for his complaint against Capital One Financial Corp.

  (“Capital One”) and the Individual Defendants (defined below), alleges the following based upon

  personal knowledge as to himself and his own acts, and information and belief as to all other

  matters. Plaintiff believes substantial evidentiary support will exist for the allegations set forth

  herein after a reasonable opportunity for discovery.

 I.         NATURE OF THE ACTION

       1.          This is a securities class action brought on behalf of all persons who purchased or

  acquired Capital One common stock between July 23, 2015, and July 29, 2019 (“Class Period”),

  did not sell such shares prior to July 29, 2019, and were damaged thereby. Excluded from the Class

  are Defendants, all present and former officers and directors of Capital One and any subsidiary

  thereof, members of such excluded persons’ families and their legal representatives, heirs,

  successors or assigns and any entity which such excluded persons controlled or in which they have

  or had a controlling interest.

       2.          Capital One marketed itself to investors as having taken enormous efforts to be the

  technologically savviest bank, with the best infrastructure, the best software engineers – and the

  best cybersecurity practices. Capital One lied. In fact, to bolster its technological transformation,

  Capital One sacrificed cybersecurity. It created vast stores of data, called data lakes, containing

  decades of effectively unencrypted customer data, linked to customer financial information, to

  which it granted access with reckless disregard for the security of the information. It did not

  meaningfully encrypt the data contained in the data lakes. When the market learned that an

  individual hacker had stolen data from 106 million credit card applicants dating as far back as

  2005, the market was shocked, and Capital One’s stock price fell materially, damaging investors.



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       3.        From its entry into the banking industry in the 1990s, Capital One claimed it would

  outcompete its more established peers by gathering better information and deriving better models

  to make better credit and marketing decisions.

       4.        Defendants have heralded this century’s substantial increases in computing power

  and massive increases in the amount and usability of data. This unfolding digital revolution seemed

  tailor-made for Capital One’s claimed competitive advantage.

       5.        In 2011, Capital One that it was beginning a digital transformation which would

  lead to enormous benefits. Defendants stated that the transformation was “revolutionary” and an

  “amazing opportunity.” The Company bragged that “it is just hard to exaggerate how much time

  and energy” Capital One and its senior executives spent pursuing it.

       6.        In 2015 Capital One reinforced its commitment to the digital transformation when

  it announced that it would move all its data from its own private cloud to the public cloud. 1

       7.        During the Class Period, Defendants emphasized to investors again and again that

  Capital One’s digital transformation was its single greatest competitive advantage. Defendants

  claimed that the transformation was “revolutionary” – in fact, that it embodied “the biggest

  revolution in the history of mankind.” Defendants claimed that Capital One benefitted from the

  “revolution.” They claimed that Capital One would be better able to identify profitable customers,

  send them individualized real-time advertisements and reward offers customized to win their

  business, and make more informed credit decisions. Defendants claimed that these benefits also




  1
    A private cloud consists of computing resources dedicated exclusively to the customer. Capital
  One had historically placed its data on company-owned servers. Public clouds are computing
  resources maintained by a third party, not dedicated to any particular customer, in which any given
  customer simply leases space. The most prominent public cloud, which Capital One and millions
  of other customers employed, is Amazon Web Services.
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  allowed them to reach multibillion-dollar partnerships with large retail chains who Defendants

  claimed wanted to benefit from Capital One’s digital resources and know-how. For five years, in

  numerous statements to investors, Defendants told investors that they should invest in Capital One

  because it was the most technologically savvy of all banks.

       8.        Keeping and storing vast amounts of data raises cybersecurity concerns.

  Defendants, however, claimed that better cybersecurity was integral to Capital One’s digital

  transformation. According to Defendants, the digital transformation was a “shared path” that

  would improve Capital One’s capabilities, including cybersecurity. Defendants claimed

  cybersecurity was “incredibly important,” “critical,” and Capital One’s “most important” priority.

  They claimed that Capital One encrypted all data it stored in the cloud and that it adhered to

  principles requiring it to respect customers’ reasonable views of how long it would hold onto their

  data. They emphasized that Capital One’s reputation for strict cybersecurity would prove a

  competitive advantage as against purely tech companies. Thus, Capital One would harness its

  technological savvy to protect its customers’ data.

       9.        According to Defendants, one of Capital One’s main weapons in its cybersecurity

  arsenal was Cloud Custodian, a program Capital One developed in house that Defendants claimed

  automatically encrypted all the data Capital One made accessible to employees. Thus, even if a

  hacker penetrated Capital One’s firewall, the hacker would still not obtain meaningful data.

      10.        Moreover, Defendants claimed Capital One complied with principles requiring

  them to delete customer data after a reasonable time. Even if a hacker breached Capital One’s

  firewall and even if the hacker somehow decrypted the data, Capital One’s deletion practices

  would sharply limit the number of customers affected.




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      11.        On July 29, 2019, Capital One announced that a hacker had stolen personal

  information drawn from 106 million credit card applications (“Data Breach”). The information

  included, for each applicant, self-reported income, complete demographic information, and last

  four numbers of social security numbers. The data the hacker obtained also set out information on

  the customers’ subsequent performance (e.g., credit lines, credit scores, payment history, and the

  like), which would identify for criminals exactly the most profitable identities to steal. The hack

  also exposed more than 100,000 full social security numbers, and about one million of the

  Canadian equivalent of social security numbers.

      12.        The admissions in Capital One’s announcement, subsequent reporting, and reports

  from former employees show that Capital One had sacrificed cybersecurity to a dangerous extent,

  belying their repeated claims to the contrary. Given Capital One’s deficient cybersecurity

  measures, the Data Breach was inevitable.

      13.        The foundation of Capital One’s digital transformation was machine learning, a

  process through which computer algorithms are given raw data and “learn” on their own to discern

  patterns and accomplish tasks. More data means better algorithms.

      14.        To optimize machine learning, Capital One created massive data lakes (i.e.,

  repositories of customer data) containing data retained far in excess of customer expectations.

  Capital One announced that the hacker had stolen data from credit card applications submitted as

  early as 2005. Capital One had held on to this data for fourteen years. To ensure that the

  information the algorithms gleaned was as useful as possible, Capital One also included outcomes

  (the customer’s subsequent performance). Capital One made so much data accessible that any

  breach would be catastrophic.




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      15.        Capital One former employees spoke to the chaos Capital One’s access “controls”

  created. A former employee who headed the unit that developed Capital One’s digital

  cybersecurity infrastructure reports that each Capital One line of business created its own data

  lakes of customer data. The former cybersecurity infrastructure employee reports that each division

  could determine who had access to its own data lakes and the terms of that access – leaving Capital

  One only as secure as its least secure division. A former employee in Capital One’s cybersecurity

  division reports that Capital One kept over 500 million usernames and passwords on its server on

  an unencrypted plaintext spreadsheet, searchable and accessible to anyone. Indeed, between 2017

  and 2019, Capital One reported at least four incidents in which insiders exploited overbroad access

  and weak monitoring to access multiple Capital One customers’ data – far more than any other

  bank.

      16.        Finally, contrary to Defendants’ express statements, Capital One’s data was not

  meaningfully encrypted. Rather than limiting decryption to relevant persons, Capital One

  automatically decrypted data for any person with Capital One credentials. As an expert explained,

  Capital One’s encryption was “academic at best.”

      17.        Capital One’s loose and chaotic access policies, huge numbers of vast data lakes,

  and automatic decryption made a hack like the Data Breach inevitable. With too many authorized

  requests by Capital One employees and algorithms to access data to monitor, an illegitimate

  request would be difficult to catch. Indeed, the hacker involved in the Data Breach accessed Capital

  One’s data three times in March and April 2019 and used Capital One’s computer resources to

  mine bitcoin, without ever being detected.

      18.        The final weakness in Capital One’s cybersecurity defenses was Defendants

  themselves. In 2017, Capital One hired Michael Johnson to be its Chief Information Security



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  Officer (“CISO”), the head of the cybersecurity division. Defendants considered turnover in that

  division material and closely monitored it, including in reports to Capital One’s board of directors.

  Johnson immediately alienated the cybersecurity division’s employees. The division’s turnover in

  2018 was about one third. Under Johnson, Capital One’s cybersecurity division even omitted to

  take elementary precautions like installing security software Capital One had purchased.

       19.        The July 29, 2019 announcement of the Data Breach thus was the inevitable result

  of Capital One’s abandoning cybersecurity practices to carry further itsd business plan.

       20.        Defendants’ boasts that Capital One would use its vast technological savvy to

  protect and encrypt customer data deceived investors. On July 30, 2019, the day after Capital One

  disclosed the data breach, its stock price fell 6% on exceptionally high volume of trades to close

  at $91.21, damaging investors.

 II.         JURISDICTION AND VENUE

       21.        The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

  Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R.

  § 240.10b-5).

       22.        This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       23.        Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b) and Section

  27 of the Exchange Act (15 U.S.C. §78aa(c)). The Company’s headquarters are located in this

  district.

       24.        In connection with the acts, transactions, and conduct alleged herein, Defendants

  directly and indirectly used the means and instrumentalities of interstate commerce, including the

  United States mail, interstate telephone communications, and the facilities of a national securities

  exchange.
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 III.         DEFENDANTS AND RELEVANT THIRD PARTIES

        25.       Court-appointed Lead Plaintiff Edward Shamoon, as set forth in his Certification,

   which was previously filed on the Court’s docket and is incorporated by reference, purchased

   Capital One common stock during the Class Period at artificially inflated prices during the Class

   Period and was damaged thereby.

        26.       Defendant Capital One is a bank holding company. Capital One differentiates itself

   from competitors by boasting of its focus on technology. Defendant Fairbank summarizes Capital

   One’s purported competitive advantage by claiming that among banks it alone is “an information-

   based technology company that does banking competing against banks who use information and

   technology.” Capital One’s shares trade on the New York Stock Exchange under ticker COF.

   Capital One has three main lines of business: credit cards, auto loans, and commercial loans.

   During the Class Period, credit cards accounted for a large majority of Capital One’s revenues.

   Included in this category were substantial revenues from issuing store-branded credit cards to retail

   chain partners like Walmart.

        27.       Defendant Richard Fairbank founded Capital One and has served as its CEO at all

   times.

        28.       Defendant Robert Alexander joined Capital One in 1998 and has served as its Chief

   Information Officer (“CIO”) since May 2007. According to Capital One’s proxy statements,

   Alexander oversees all of Capital One’s technology activities, which included 9,000 employees,

   more than 8,000 of whom were software engineers.

        29.       Defendant Michael Johnson served as Capital One’s Chief Information Security

   Officer (“CISO”) from March 2017 until he was terminated in October 2017 because of the Data

   Breach. Johnson met with Capital One’s Risk Committee, a committee of its board, at least twice



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  a year. Johnson headed Capital One’s Information Security & Risk Management Division which

  during Johnson’s tenure was renamed the Cybersecurity Division. 2

      30.        Fairbank, Alexander, and Johnson are the “Individual Defendants.”

      31.        Former Employee 1 (“FE 1”) worked for Capital One between December 2015 and

  November 2018. During the first year of his tenure, FE 1 was an Information Risk Manager in the

  Cybersecurity Division reporting directly to the CISO. Thereafter, FE 1 headed the Capital One

  division responsible for developing and implementing Capital One’s cloud security policies and

  governance.

      32.        Former Employee 2 (“FE 2”) worked for Capital One between October 2016 and

  July 2017 as a Senior Manager in Capital One’s Cybersecurity Division. FE 2 reported to a

  Director in the Cybersecurity Division who in turn reported to Richard Isenberg, VP of the

  Cybersecurity Division, who reported to the CISO. FE 2 has senior government experience,

  including briefing the head of a law enforcement agency.

      33.        Former Employee 3 (“FE 3”) worked for Capital One as a Cyber Security Incident

  Manager between 2016 through 2018. FE 3 headed a cyber incident team whose functions included

  observing operations, compiling indicators of compromise, and sending suspicious activity

  reports. FE 3 reported to a Director in the Cybersecurity Division, who in turn reported to a Senior

  Director, who reported to Defendant Johnson.




  2
   “Cybersecurity Division” as used herein refers to the division both before and after the name
  change.
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 IV.         BECAUSE THEY FIXATED INVESTORS’ ATTENTION ON CAPITAL ONE’S
             DIGITAL TRANSFORMATIONS, DEFENDANTS’ STATEMENTS ABOUT
             CYBERSECURITY WERE CRITICAL TO INVESTORS

  A.         From Its Founding, Capital One Distinguishes Itself By Its “Information Based
             Strategy”

       34.         Capital One, founded as another bank’s credit card division, was spun off in 1994.

  Capital One has always told investors that it would thrive by using more data more intelligently

  than its competitors.

       35.         After the spin-off, the only financial product Capital One offered was credit cards.

  Its narrow offering differentiated it from other credit cards companies, which tended to be large

  banks offering many different products. Capital One’s narrow offering made it a much riskier bet

  than its competitors, as its diversified competitors could weather a downturn in the credit card

  market that might be enough to put Capital One out of business. Capital One focused its business

  on riskier subprime customers.

       36.         To lower its risk, Capital One followed a strategy it had adopted in 1988 which it

  called its Information Based Strategy.

       37.         Capital One’s 1996 10-K, its very first, explained:

                   The Company’s IBS [i.e., Information Based Strategy] is designed to allow
                   the Company to differentiate among customers based on credit risk, usage
                   and other characteristics and to match customer characteristics with
                   appropriate product offerings. IBS involves developing sophisticated
                   models, information systems, well-trained personnel and a flexible culture
                   to create credit card or other products and services that address the demands
                   of changing consumer and competitive markets. By using sophisticated
                   statistical modeling techniques, the Company is able to segment its potential
                   customer lists based upon the integrated use of credit scores, demographics,
                   customer behavioral characteristics and other criteria. By actively testing a
                   wide variety of product and service features, marketing channels and other
                   aspects of its offerings, the Company can design and target customized
                   solicitations at various customer segments, thereby enhancing customer
                   response levels and maximizing returns on investment within given
                   underwriting parameters. Continued integrated testing and model
                   development builds on information gained from earlier phases and is

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                 intended to improve the quality, performance and profitability of the
                 Company’s solicitation and account management initiatives. The Company
                 applies IBS to all areas of its business, including solicitations, account
                 management, credit line management, pricing strategies, usage stimulation,
                 collections, recoveries and account and balance retention.


      38.        Thus, Capital One maintained since its inception that its Information Based

  Strategy would allow it to better identify better customers, better market to them, and offer them

  rewards better targeted to their wants and needs. By having better information and models than its

  competitors, Capital One bet that it could also extend credit more intelligently than its competitors,

  and therefore more profitably, than its competitors.

      39.        After the spinoff, Capital One began to offer what it called Second Generation

  Products in markets where it believed it could use its Information Based Strategy to outcompete

  other banks. These products also targeted moderate income customers or those with poor credit

  ratings. Capital One maintained that it could turn a profit by using its Information Based Strategy

  to better evaluate, price, and monitor credit risks.

      40.        As information technology improved throughout the 1990’s and 2000’s, Capital

  One’s Information Based Strategy became digital. For example, Capital One’s 2000’s 10-Ks stated

  that it “leverage[s] information technology to achieve our business objectives and to develop and

  deliver products and services that satisfy our customers’ needs [a key aspect of which is] the

  development of efficient, flexible computer and operational systems to support complex marketing

  and account management strategies and the development of new and diversified products.”

      41.        According to Defendants, Capital One’s competitive advantage in information and

  analysis becomes more material with each passing year. On a call to announce Capital One’s Q4

  2014 earnings, on January 22, 2015, Defendant Fairbank explained that the technological

  transformation was critical because it would affect “even something that’s very, very core to how

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  Capital One works, which is information-based strategies itself.” Indeed, in that same call,

  Fairbank called Capital One a “fanatical information-based company; and across all the segments

  and sub-segments we’re in, we are reading the data that is coming back and readjusting constantly

  our choices and so on.”

  B.         Capital One Went “All In” On A “Revolutionary” “Amazing Opportunity”: A Digital
             Transformation

       42.          In 2011, Capital One promoted the start of a complete overhaul of its operations,

  which it called a digital transformation. Deriding banks that merely added apps or online banking

  to their traditional structures Capital One claimed the main promise of the digital transformation

  was the ability to use new machine learning technology to boost Capital One’s Information Based

  Strategy. Capital One could create a better experience for customers through (among other things)

  better credit decisions, better marketing, and better fraud detection systems. To do so, Capital One

  would have to modernize its entire infrastructure.

       43.          In 2015, as part of its digital transformation, Capital One announced that it would

  move substantially all of its computing operations and data to the cloud. In 2016, Capital One

  announced that it would make Amazon Web Services (“AWS”) its predominant cloud provider.

       44.          As SVP Global Finance Norris explained at the J.P. Morgan FinTech & Specialty

  Finance Forum on November 30, 2016:

             AWS [Amazon Web Services] announced yesterday after the close an agreement with
             Capital One where we’re making AWS our predominant cloud partner, and we’re really
             migrating a lot of things to the cloud: big data infrastructure and capabilities, cloud
             computing, the kind of modern infrastructure that’s needed to support a truly digital
             enterprise.

       45.          Defendants represented, over and over and over again, that its digital transformation

  was Capital One’s single greatest competitive advantage. Capital One boasted that it had the most

  and the best software engineers and other technology professionals. Capital One executives


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  acknowledged that they understood investors were hanging on every word they spoke of their

  digital transformation.

        46.         Defendants maintained that Capital One’s digital transformation was already

  creating substantial benefits, including multibillion-dollar partnerships with large retail chains

  excited about Capital One’s technology.

  (a)         The Digital Transformation Was An Opportunity For Capital One To Employ Its
              Purported Technological Savvy To Outpace Its Competitors

        47.         In a maxim Defendant Fairbanks frequently repeated, including at the June 1, 2017

  Sanford C. Bernstein & Co. Strategic Decision Conference, Capital One was “an information-

  based technology company that does banking competing against banks who use information and

  technology.”

        48.         Armed with this advantage, Capital One would leave behind its competitors, who

  Capital One claimed merely bolted technology onto traditional banks.

        49.         Before and during the Class Period, Defendants characterized Capital One’s digital

  transformation as the single most important fact about it. In a November 30, 2016 presentation

  before the J.P. Morgan FinTech & Specialty Finance Forum, Capital One SVP of Global Finance

  Jeff Norris boasted that “I’ve been with Capital One for almost 20 years, and this is a rare kind of

  time in my experience at Capital One in that this investment in digital and digital transformation

  in banking is one of the few things I think we’ve ever seen that’s just sort of, over time, good on

  every dimension.” Norris added that the digital transformation is “an integral part of our card

  growth, and over time I think it just becomes more and more the company we are [] and we believe

  is one of the cornerstones of our strategy.”

        50.         Defendant Fairbank was even more enthusiastic.




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      51.          On a call to announce Capital One’s Q4 2014 earnings, taking place on January 22,

  2015, Defendant Fairbank said that:

            And finally, the investment in digital. And while digital is a big opportunity across
            consumer and commercial, certainly, on a relative basis, I think the revolution is going to
            be greater on the consumer side and it’s literally going to transform all aspects of how
            banking is done. It’s going to transform not only – people often think through the lens of
            the customer experience, but really the whole way, the way retail distribution works, the
            way operations, marketing, servicing and even something that’s very, very core to how
            Capital One works, which is information-based strategies itself. So this is a big deal on the
            commercial side. It’s pretty much a revolutionary deal on the consumer side.

      52.          Fairbank added that “I haven’t seen anything remotely like this in terms of the

  ability to transform how a business works.”

      53.          At the February 10, 2016 Credit Suisse Financial Services Forum, Fairbank

  reiterated that “[t]his is the most significant thing I’ve seen in the 25 years of building this

  Company in terms of opportunity but also in terms of like risk if you don’t really go for it.”

      54.          At the June 2, 2016 Sanford C. Bernstein & Co. investor conference, Fairbank

  claimed that:

            The most important place, the most important things that are going on are not the things
            that you can readily see. It’s about foundational technology that is the shared path to
            really being a digital company. It’s about the information-based strategy that we use in
            credit decision-making, in marketing, to be able to originate and book the accounts of the
            quality that we have.

      55.          On an April 25, 2017 call to discuss Capital One’s Q1 2017 earnings, Fairbank

  pointed to the “significant investment Capital One has been doing in transforming our company in

  response to the biggest revolution in the history of mankind [i.e., digital] and something that’s

  going to absolutely transform banking and is only in the very early stages of doing that.”

      56.          Indeed, On a January 24, 2017 conference call to announce Capital One’s Q4 2016

  earnings, Fairbank noted that he had talked about the digital transformation “many, many times”

  “for a long time”:


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            Important places we’re investing is, as we talked many, many times, is on the digital side
            and, as I’ve said for a long time, the digital transformation of us really into – to operating
            like a technology company that’s not a one or two or three years’ thing. That is a
            transformation that in many ways is a lifetime transformation.

      57.          Capital One executives were focusing their attention on the digital transformation.

  As Fairbank announced at the Barclays Global Financial Services Conference taking place on

  September 11, 2017, that “[I]t is just hard to exaggerate how much time and energy we -- myself

  personally, but we, our company, our team, our senior team, put into the digital revolution trying

  to understand it, understand where it’s going and then understand what does it mean for us.”

      58.          On an October 23, 2018 call discussing Capital One’s Q3 2018 earnings, Defendant

  Fairbank noted that the digital transformation “is the most important thing, it’s the thing every

  company needs to be spending more time talking about.” He added that “it is very clear that

  banking is going to be totally transformed and everything about how a bank works as it is

  experienced from the outside and how it works on the inside are going to need to change in order

  to, in the end, deliver real-time, intelligent, digital customer experiences.”

      59.          Defendants understood the need to speak carefully about the digital transformation

  given that they emphasized its materiality to investors. In a November 6, 2015 presentation at the

  BancAnalysts Association of Boston Conference, Capital One CFO Stephen S. Crawford refused

  to answer a question seeking information about the digital transformation because “given the focus

  that our investor base has on the words [regarding digital transformation], we spend a lot of time

  thinking about exactly what it is we want to say.”

      60.          Likewise, Defendants had a policy of not providing guidance, but made an

  exception when it came to metrics affected by the digital transformation. As Fairbank explained

  on a June 23, 2015 call to discuss Capital One’s Q2 2015 earnings, “[s]o the reason that we took

  the time here to la out [metric] guidance [] was just to give you a sense of the commitment that we


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  have to investing on the digital side and the commitment that we have to seizing the opportunity

  on the card growth side.” Defendants would continue to provide guidance on that same metric

  through the end of the Class Period.

      61.           Defendants claimed that the digital transformation was succeeding because Capital

  One was able to attract the best tech talent in America.

      62.           To attract tech talent, Capital One had to position itself as a forward-leaning

  company. As Defendant Fairbank explained at the Sanford C. Bernstein & Co. Strategic Decisions

  Conference on June 2, 2016, to avoid seeming like a “stodgy bank” to tech employees, Capital

  One had to let engineers bring their ideas to market quickly:

            [Y]ou’ve got to attract the very best tech talent, and this is the talent that is the most sought-
            after jobs in America. Winning in technology absolutely means winning in recruiting.
            Recruiting isn’t about speeches you give or what you pay. Recruiting is about what they
            find when they come, which immediately the first thing they look at is what technology do
            you have, what am I going to work on? And then, right – the next thing is how does the
            company work, what’s the nature of the work environment? Can we get stuff done? Does
            this feel like a stodgy bank or does this feel like a tech company? And finally, they look
            at what product is being shipped at the other end of this thing. And there is a virtuous
            circle that comes from attracting better talent, investing in great technology, having a
            dynamic, fast-paced place to work and shipping great product [.]

      63.           Fairbank added that:

            I think what I’m most excited about our own technology journey is not necessarily
            manifested in some of those external things you see. But in many ways, the best place to
            look is look at the technology recruiting marketplace. Where is tech talent going? How
            much of it is going into the – great tech talent, how much are they considering financial
            services companies? When they think of banks, they probably think boring, old-school kind
            of things. How much traction is a company getting in that marketplace? I think Capital
            One is getting a lot of traction in people realizing, wow, this is a lot more like a tech
            company than I thought and, in many ways, a lot more than a tech company than a bank.

      64.           Defendant Fairbank further explained at the Goldman Sachs U.S. Financial

  Services Conference taking place on December 6, 2017 that unlike “boring banks”, Capital One

  let its engineers “ship product”:



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            The key thing there, and whether those things are successful, is very much is what is – does
            the company that’s being bought, particularly if you want to keep the talent, do they feel
            they’re being bought by a tech company or some boring bank? And as we have continued
            to transform the company, and as I often say, build an information-based technology, a
            company that happens to do banking, that’s a very different model than a bank that happens
            to use information and technology. And one of the most striking places you see that is in
            the recruiting marketplace and the increasing brand that Capital One has, both in recruiting
            and even on the small acquisition side to be a company where tech people can really feel
            at home and they feel they can come in and they can, in their language, ship product
            instead of coming in and banging their heads in a world of traditional technology.

      65.           Crawford added at the November 4, 2016 BancAnalysts Association of Boston

  Conference, that with respect to digital, “if you’re not forward-leaning with respect to the tools,

  the way that you approach problems, you’re going to not be successful with your employee base.”

      66.           Indeed, speed was of the essence at Capital One. As Fairbank explained on a July

  20, 2017 call to discuss Q2 2017 earnings:

            I also said that the biggest motivator of our digital investment is not a cost objective. It
            really is a much better customer experience. Building a way more dynamic, well-managed,
            fast, first-to-market, better controlled, all those other kinds of benefits that come with this.

      67.           Capital One CFO Stephen S. Crawford added at the November 4, 2016

  BancAnalysts Association of Boston Conference, that “[s]o we’re bringing in technologists that

  are program designers, who are data analysts, who are experts in machine learning and big data.”

      68.           Capital One increased the number of software engineers it employed from 2,500 in

  2011 to 9,000 in 2019.

      69.           Defendants were clear and repetitive – the digital transformation was Capital One’s

  future and the single most important reason investors should buy Capital One’s shares.

      70.           At the June 11, 2017 Sanford C. Bernstein & Co. investor conference, Fairbank

  noted that Capital One must “go all in with digital.” He closed his presentation by pleading with

  investors to focus on Capital One’s technological capabilities when they made investment

  decisions:


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              The opportunity to build an information-based technology company that does banking,
              competing against banks that are more traditional in what they do and competing against
              tech companies that have a lot of advantages, but there’s a number of things that hold them
              back – There’s an amazing opportunity in this transforming world of banking. [] This
              feels more like the founding days than it has at any time in the last 20 years. So that’s
              the movie trailer relative to future things.

  (b)         Defendants Tout the Promise of the Digital Transformation’s Incorporation of
              Machine Learning to Dramatically Intensify Capital One’s Information Based
              Strategy

        71.          Defendants told investors that lower costs through software and better digital apps

  were only a small part of the benefits investors should expect from Capital One’s digital

  transformation. The real benefit would come from using machine learning to improve customer

  experience.

        72.          On a conference call to announce Capital One’s Q1 2018 earnings taking place on

  April 24, 2018, Defendant Fairbank acknowledged that “there are many benefits that come from”

  investing heavily in technology “and cost to me isn’t even at the top of the list and we’re not doing

  it primarily for cost benefits.” At the February 10, 2016 Credit Suisse Financial Services Forum,

  Fairbank stated that “cost is probably only fourth or fifth on the list of the benefits that come from

  digital.” And as Jeff Norris acknowledged on the November 30, 2016 J.P. Morgan FinTech &

  Specialty Finance Forum, “think of that 10% of the technology iceberg as sort of customer-facing

  apps, and then it’ll make more sense when I say that the vast majority of the investment agenda

  we have for digital transformation is that 90% that’s below the surface.” Rather, Capital One

  executives consistently referred to the “foundational stuff” as the use of machine learning

  employed on vast sets of customer data to pursue Information-Based Strategies at a far superior

  level of sophistication.




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      73.          For example, as SVP Global Finance Norris explained at the J.P. Morgan FinTech

  & Specialty Finance Forum on November 30, 2016, “[c]ost is an important thing, efficiency is an

  important thing, but in some ways it’s almost the least important thing.”

      74.          And as Defendant Fairbank explained on a January 22, 2015 call to report Q4 2015

  earnings, in connection with Capital One’s digital investments, “what I’m most interested about

  [in connection with the digital transformation] is actually the opportunities to generate growth and

  to generate better real-time decision-making, to make better credit decisions, and in the end to

  build a deeper franchise through very significant improvements in the customer experience and

  things that really create more loyalty and more stickiness with customers.”

      75.          Fairbank insisted on a call to discuss Capital One’s Q1 2015 earnings, taking place

  on April 23, 2015, that the digital transformation:

            In some ways, I mean it’s a lifelong, forever journey. This is not like we’re going to say
            next year, we’re going to be real-time. I’m just saying, so from a journey for me that started
            20 years ago and looking at the banking industry and saying in many ways this is really the
            information business, not necessarily just the traditional banking business. I’m saying the
            world – it’s very clear at the accelerating rate that the world is moving, the ability to –
            the dimensions of how information is leveraged, the real-time nature of information and
            the software revolution that has changed everything, the connected revolution here.

      76.          Fairbank returned to the theme of using big data to pitch customized products to

  consumers at the Sandford C. Bernstein Strategic Decisions Conference taking place on May 28,

  2015:

            And if I were to describe [the benefits of digital] it is way faster product development,
            way better products that are integrated into people’s lives, way better insights from data
            and, ultimately, the ability to create customized solutions in real time that right now we
            all live on a batch basis.

      77.          Moving to the cloud was essential for Capital One’s digital transformation. As

  Capital One CFO R. Scott Blackley explained at the Morgan Stanley Financial Services

  Conference on June 14, 2017, “[w]e think we can differentiate ourselves [because of the digital


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  transformation] by virtue of our ability to have [] great access to data and our ability to harness

  that data to do different things.” Blackley continued:

              The idea that you run a bank on a batch cycle, where you have processing that happens at
              the end of every day, and you aggregate that up, it makes us slow and it’s hard to – I don’t
              think that the – market of the future is really more about how you can do things quicker
              and more real time as opposed to having to wait. So a lot of the digital work we’re doing
              is to set us up to be a more real-time company.
                                             *       *      *      *      *

              I think the next wave is where you really start to see some amazing things, where things
              like machine learning, robotic automation, all those things really – you’ve got to have
              this data foundation and this technology foundation we’ve been putting into place over
              the last several years.

  (c)         Defendants Boast That Capital One’s Digital Transformation Was Providing
              Substantial Immediate Benefits

        78.          Capital One used machine learning data analysis to pursue two main business

  advantages: squeezing more profits out of credit card customers and securing partnerships with

  large retail chains.

        79.          As Fairbank explained at the June 1, 2017 Sanford C. Bernstein & Co. Strategic

  Decision Conference, Capital One would use big data to identify and retain “heavy spenders,”

  affluent customers who spent heavily on their credit cards, always make on time payments,

  sometimes roll over their balances but always pay them off: 3

              [W]e have a huge investment and a lot of very successful techniques for customized
              marketing and a lot of it on the digital space. Speaking of digital, I think the next frontier
              where there will be differentiation in the heavy spender business will be on digital
              capabilities. Capital One is putting a huge investment into technology, a huge investment
              in unique and differentiated digital product offerings. This is an area that we look to
              certainly differentiate ourselves over time.




  3
   As Defendant Fairbank explained on an April 25, 2019 call to discuss Capital One’s Q1 2019
  earnings, “Heavy spenders are hard to get but exceptionally valuable to have. They are long-term
  annuities that pay off on the bottom line with strong interchange revenue, loan balances from
  occasional revolving, very low charge-offs and very low attrition.”
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      80.          Capital One also sought out partnerships with large retailers, chiefly in the form of

  branded cards in which both partners would share the benefits and costs. There, too, Capital One

  touted technology as its competitive advantage. As Defendant Fairbank explained on a call to

  discuss Q1 2015 earnings taking place on April 23, 2015:

            As you know, the retailing business, for example, is in massive strategic turmoil. And the
            impact of digital and the need for retailers to reinvent themselves is an extraordinary in
            many ways kind of existential kind of imperative. And I think that companies like Capital
            One that are doing very significant investments in digital and in mobile and in not just
            the customer experience that is associated with that but all the underlying infrastructure
            that is behind what it takes to actually innovate in digital, companies like ours. I think
            are in a very good position to partner with retailers and help them strategically and actually
            in terms of real product innovation and execution in that transformation. So we are also
            investing in that opportunity and we have partners with whom we’re working right now on
            some pretty cool digital innovations.

      81.          Jeff Norris, SVP Global Finance, expanded on these claims at the Barclays America

  Select Conference on May 20, 2015:

            If you’re a physical retailer, you’re not really sure why a customer came into your store,
            right. Is it because you had a really successful advertisement in the Sunday newspaper? Or
            is it because it was a nice day and they decided to go out and go shopping? It’s a one-off
            transaction, and you don’t really capture a lot of information or relationship benefits from
            those one-off sales transactions.
            A card partnership is an opportunity for retailers to develop more of an ongoing dialogue
            and an ongoing relationship with their retail customers. And we feel like there’s a lot of
            customer relationship benefits that we can help retailers unlock using our information
            base in more analytical approaches. So we really want to be in partnership with retailers
            that view the card opportunity that way as opposed to merely an opportunity to monetize
            customer relationships.


      82.          Indeed, because of its existing investments in digital technology, and because it

  could work with multiple retailers at the same time, Fairbank explained at the Sandford C.

  Bernstein Strategic Decisions Conference on May 28, 2015 that Capital One would benefit from

  substantial economies of scale:

            As just one example on that [] this is also a business where we can add a lot of value to a
            retailer. The elephant in the living room of retailers is the digital revolution. And there is
            a great opportunity for banks like ourselves that are investing very significantly in digital
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            innovation to help retailers in their own journey and some scale – economics of doing
            that for multiple retailers.

      83.          Fairbank further boasted on the same call that Capital One’s digital capabilities

  would be transformational for retailers:

            So, it’s always been a natural inherent advantage in some ways for the players who have
            skew level data, and I think if I were at those companies, we’re doing everything we could
            to take advantage of that, and I think there is value for retailers. There is the whole area of
            information-based strategies, their analytical opportunities for retailers are everywhere.
            But just looking at their customer base, looking at loyalty programs, watching what drives
            same-store sales growth, what works from a marketing point of view, how to create really
            good test and control, how different rewards, choices make a big difference on the credit
            side, the whole role of selection and positive selection and negative selection. The
            incredible difference that exists for a retailer between those who are motivated on a private
            label program to – for the making of money as opposed to players like Kohl’s who are
            motivated for the building of – using a private label program as the central nervous system
            of building a franchise. The extraordinary difference is that happen when you’re all in on
            the latter as opposed to the former and helping customers along the way. And then, of
            course, you have the digital revolution and not only the opportunity to help create digital
            product, but also to get to the – even greater opportunity, which is the fusion of digital
            capabilities and measurement that comes along with that. And retailers are at a very, very
            early stage of that, frankly banks in general, banks like Capital One has spent a lot more
            years investing in that very thing. So our value proposition for private label companies is
            to help them take advantage of some of the scale investments that we make in these areas
            of digital and information-based technology, and share the technology and the know-
            how with them.

      84.          Fairbank returned to the same point three years later, on July 19, 2018, during a call

  discussing Capital One’s Q2 2018 earnings:

            Well, so there’s kind of two approaches to a partnership business. One can build a lot of
            custom technology associated with any particular partner, or on the other hand, one can
            build general capabilities that would be very compatible with partners who are really
            looking to build a franchise. And the way our tech transformation has happened by design,
            which is really about building foundational technology and sort of working up the
            technology stack to create a lot of digital capabilities and flexibility within our Card
            business, that is a very natural thing to bring into the partnership business.
            So our philosophy is more create a way that we can help our partners ride on our
            technology path, as opposed to go create a new technology path one partner at a time. []
            So as we’ve said over the years that one of the benefits of our tech investment should be
            our ability to be a better partner out there.




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        85.          Defendants continued to highlight that Capital One’s digital transformation would

  prove attractive to investors. As Defendant Fairbank explained in a call to discuss Capital One’s

  Q2 2018 earnings taking place on July 19, 2018:

              If you look at the spectrum of card partnerships out there and essentially the partners behind
              those card partnerships, on the one end of the continuum are the partners who view the
              card program as [an] essential element for building a franchise and deepening customer
              relationships. The other end of the continuum is partners who sort of view the card program
              as a profit center.
              And we have consistently kind of tried to focus on the former end of the spectrum,
              because not only is that where we think the better opportunity lies, also the value that we
              have to add, what we can bring to the table in the context of our digital capabilities and
              underwriting and marketing, would be consistent with those players who really are
              looking to card partnerships as a means to grow and really build a franchise.
              And however important card partnerships were in the past, I think we should all understand
              they’re more important in the emerging digital world, just because of the centrality of how
              payments play in the digital e-commerce environment relative to – in the physical
              environment.

        86.          On July 26, 2018, Capital One announced that it had reached a long-term agreement

  to become the exclusive issuer of Walmart’s cobrand and private label credit card program in the

  U.S. Capital One also agreed to acquire Walmart’s existing portfolio, which Capital One expected

  would consist of approximately $9 billion of receivables. On a call to discuss Q1 2019 earnings

  taking place on April 25, 2019, Defendant Fairbank claimed that “I think our tech transformation

  was central to winning the Walmart deal.”

  (d)         Defendants Told Investors That the Digital Technology Would Improve Customers’
              Perceptions of Capital One

        87.          Defendants told investors that the Digital Transformation would be a competitive

  advantage for Capital One because it would make Capital One more appealing to customers.

        88.          On a July 20, 2017 call to discuss Capital One’s Q2 2017 earnings, Fairbank told

  investors that the single best benefit of the digital transformation is its power to “delight[]”

  customers:



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            So, where can you see the benefits [of Capital One’s digital transformation]? No one can
            disentangle what – no one can prove what happens when your customers are a lot more
            delighted, how that affects things like growth and retention and things like that, but I just
            would say that – and it’s very easy, Brian, for you to – I’m not going to rattle them all off
            here – there’s a lot of various proof points associated with a dramatic increase in Capital
            One’s – the customer satisfaction, go to the App Store and look at their ratings on the App
            Store, between the digital experience, the customer experience, go to our own website and
            look at the ratings that – and reviews that people put up on our own account.
            For a variety of reasons, one of which is our digital transformation, we have had a
            tremendous momentum with customers that is pretty linked to the kind of exceptional
            growth that we have seen. Look in the auto business, I don’t know if you’ve seen some of
            the technology that we’re employing in the auto business associated with Auto Navigator.
            I would suggest you take a look at that, that’s pretty interesting. I can never prove you to
            what the contributions of delighted customers are on the growth front.
            Secondly, on the marketing front, there is an obvious and dramatic transformation going
            on in marketing and how it works and the growing role of digital marketing. Digital
            marketing itself has got the word digital in it. And it’s about digital capabilities. And in
            fact, information-based strategy, that has been an important contributor to Capital One’s
            success.
                                             *       *        *      *       *
            I also said that the biggest motivator of our digital investment is not a cost objective. It
            really is a much better customer experience. Building a way more dynamic, well-
            managed, fast, first to market, better controlled, all those other kind of benefits that come
            with this. All of that said, it’s very clear that we are increasingly reaping important sizable
            benefits and efficiency as a result of years of digital investment, and the efficiency comes
            across distribution channels of retail, call centers, operations, centers. The transformation
            in how we work as long-term benefits, many of which we’ve started to realize. So the
            interesting thing is a journey that was never motivated to be, number one, for the sake of
            cost savings. Something where it cost a lot, the costs were a lot higher than the benefits at
            the outset, those relative meters are on their way to some significant change in position
            there. And so it is the efficiency ratio would be the final place that I would point to.

      89.          Fairbank’s July 20, 2017 statement was only one of many instances in which he

  told investors the digital transformation would be great for investors because it would be great for

  customers.

      90.          On a January 22, 2015 call to discuss Capital One’s Q4 2014 earnings, Defendant

  Fairbank stated that:

            I think, in the long run, there’s going to be [a] very significant cost benefit from all these
            digital investments, but the biggest benefit, and the reason we’re doing it is, in almost all
            cases, not for that reason. And what I’m most excited about is actually the opportunities to
            generate growth and to generate better real-time decision-making, to make better credit
            decisions, and in the end build a deeper franchise through very significant improvements
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            in the customer experience and things that really create more loyalty and more stickiness
            with customers.

      91.          On a July 23, 2015 call to discuss Capital One’s Q2 2015 earnings, Defendant

  Fairbank stated that “[w]hile you can’t necessarily see it in the numbers that you see, but the

  enhancements to productivity, the power of innovation, the dramatically growing customer

  experience benefits and it’s inextricably linked to the growth that we are generating right now.”

      92.          In a February 10, 2016 presentation at the Credit Suisse Financial Services Forum,

  Fairbank told investors that:

            The more important things, where I see such big opportunity, is the opportunity to really
            transform the customer experience, to really change how we do marketing, to ultimately
            increasingly leverage the big data that is out there, increasing in a world of big data to
            leverage information to make smart decisions, to move over time through the world where
            a batch going to real time and a lot of dimensions that I think really help us grow and build
            a great franchise. And it’s a shared path because along the way then there is a lot of savings
            to be had for those who do make the sustained investment.

      93.          In a November 30, 2016 presentation at the J.P. Morgan FinTech & Specialty

  Finance Forum, Jeff Norris noted that:

            Cost is an important thing, efficiency is an important thing, but in some ways it’s almost
            the least important thing. We’re also seeing better compliance outcomes, better and richer
            customer service and customer experience outcomes, and productivity gains in terms of
            our speed of developing new software and new products and time-to-market. And I think
            the most obvious external benefit that we’ve seen thus far is the contribution to the
            industry-leading growth on our card business.

      94.          On an April 25, 2017 call to discuss Capital One’s Q1 2017 earnings, Defendant

  Fairbank stated that “[t]he technology investments are not motivated first and foremost in order to

  save money, frankly, it’s for a lot of the other benefits, that of a great customer experience, the

  ability to transform how the business works, and so on.”

      95.          On an April 25, 2019 call to discuss Capital One’s Q1 2019 earnings, Defendant

  Fairbank stated that Capital One would not change much about how it had approached the digital

  transformation:

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            Because we are absolutely compelled by the opportunity here. And we can feel the
            accelerating progress on just about every dimension. If you were inside this company, you
            could feel acceleration on what’s happening with the customer experience, what’s
            happening in risk management, what’s happening with the dynamism of the company,
            the speed to market, the products, how customers are feeling about Capital One.

      96.          And on a July 18, 2019 call to discuss Capital One’s Q2 2019 earnings, Defendant

  Fairbank reiterated:

            And it is very clear inside our company and you’re starting to see some manifestations
            externally that our tech progress is accelerating and the benefits which extend across a lot
            of different aspects of the business, from speed to market, to product quality, customer
            experience, risk management, operational effectiveness, growth efficiency, there’s a lot of
            different aspects of it.

      97.          Thus, Defendants recognized that for the digital transformation to succeed, Capital

  One would have to employ its purported technological savvy to win and keep customers’ loyalty.

      98.          Capital One acknowledged that it could not win and keep customers’ loyalty unless

  it could keep customers’ data safe. Capital One CFO Richard Blackley acknowledged at the

  Barclays Global Financial Services Conference on September 10, 2019, after the Data Breach, that

  “obviously, for a financial services firm, making sure that data is secure is a mission-critical

  thing[.]”

 V.         PRIVATE INFORMATION IS VALUABLE TO CRIMINALS

      99.          Identity theft is when someone uses another’s personal identifying information,

  such as that person’s name, address, credit card number, credit card expiration date, and other

  information, without permission, to commit fraud or other crimes. Estimates put forth by the FTC

  are that as many as 10 million Americans have their identities stolen each year. Once identity

  thieves have private information, “they can drain your bank account, run up charges on your credit




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  cards, open new utility accounts, or get medical treatment on your health insurance.” 4 So private

  information is “as good as gold” to identity thieves.5

      100.       Javelin Strategy and Research has stated that “1 in 4 data breach notification

  recipients became a victim of identity fraud.”6 Nearly half of consumers with a breached debit card

  became fraud victims within the same year.

      101.       Identity thieves can use private information to perpetrate many crimes. For

  instance, they may commit immigration fraud, obtain a driver’s license or identification card in

  the victim’s name, use the victim’s information to secure government benefits, or file a fraudulent

  tax return with victim’s information to obtain a fraudulent refund.

      102.       Criminals may also obtain medical services using consumers’ compromised private

  information or commit other frauds, such as obtaining a job or procuring housing.

      103.       Accordingly, the risks associated with identity theft are grave. “While some identity

  theft victims can resolve their problems quickly, others spend hundreds of dollars and many days

  repairing damage to their good name and credit record. Some consumers victimized by identity

  theft may lose out on job opportunities, or be denied loans for education, housing or cars because

  of negative information on their credit reports. In rare cases, they may even be arrested for crimes

  they did not commit.”7




  4
    FTC, Signs of Identity Theft, available at http://www.consumer.ftc.gov/articles/ 0271-signs-
  identitytheft.
  5
        FTC       Interactive    Toolkit,     Fighting  Back      Against     Identity    Theft,
  http://www.dcsheriff.net/community/documents/id-theft-tool-kit.pdf.
  6
    2013 Identity Fraud Report: Data Breaches Becoming a Treasure Trove for Fraudsters,
  http://www.javelinstrategy.com/brochure/276 (the “2013 Identity Fraud Report”).
  7
    True Identity Protection: Identity Theft Overview,
  http://www.idwatchdog.com/tikia//pdfs/IdentityTheft-Overview.pdf.
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       104.          A 2008 Presidential Report on identity theft describes the protracted, harmful

  effects of such theft:

              In addition to the losses that result when identity thieves fraudulently open
              accounts or misuse existing accounts, . . . individual victims often suffer indirect
              financial costs, including the costs incurred in both civil litigation initiated by
              creditors and in overcoming the many obstacles they face in obtaining or retaining
              credit. Victims of nonfinancial identity theft, for example, health-related or
              criminal record fraud, face other types of harm and frustration.
              In addition to out-of-pocket expenses that can reach thousands of dollars for the
              victims of new account identity theft, and the emotional toll identity theft can
              take, some victims have to spend what can be a considerable amount of time to
              repair the damage caused by the identity thieves. Victims of new account identity
              theft, for example, must correct fraudulent information in their credit reports and
              monitor their reports for future inaccuracies, close existing bank accounts and
              open new ones, and dispute charges with individual creditors. 8

 VI.          CAPITAL ONE’S DIGITAL TRANSFORMATION NEGLECTS SECURITY

       105.          To support Capital One’s Information Based Strategy, Defendants knowingly

  imperiled huge swaths of customer data.

       106.          The machine learning that Capital One was developing requires creating huge

  stores of data (“data lakes”) and making them accessible within Capital One.

       107.          A company can responsibly limit the amount of data it makes accessible while

  implementing extremely strict controls on who could access the data. To do so, however, can slow

  down engineers who are attempting to develop new tools. It can also make machine learning

  algorithms less effective.

       108.          Contrary to Defendants’ statements, Capital One abandoned basic cybersecurity

  requirements to improve the operational performance of its engineers and machine learning




  8
    The President’s Identity Theft Task Force, Combating Identity Theft: A Strategic Plan, at p.11
  (April 2007), http://www.ftc.gov/sites/default/files/documents/reports/combating-identitv-theft-
  strategicplan/strategicplan.pdf.
                                                      27
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  algorithms. Capital One created data lakes far vaster than other banks’ – for example, keeping

  credit card applicants’ information from as far back as 2005. Capital One also tracked outcomes,

  including the successful applicants’ credit limit, credit scores, balances, and payment history, thus

  providing hackers a roadmap of customers who can most profitably be targeted for identity fraud.

  Capital One also granted massively overbroad permissions to access this data. With so much noise

  from legitimate access to this data, Capital One would have great difficulty detecting any

  illegitimate attempts to access the data.

       109.         Ultimately, by sacrificing security to the needs of its developers and their

  algorithms for broad and quick access to data, Capital One made a catastrophic data breach

  inevitable.

  A.          More Data Makes Better Machine Learning Algorithms

       110.         Beginning in the 1990’s, mathematicians began to make substantial breakthroughs

  in a theretofore-neglected branch of information theory: machine learning.

       111.         These mathematicians made critical discoveries in the early 2000’s. These

  breakthroughs, coupled with the immense amount of data created by the internet, made industrial

  uses of machine learning possible.

       112.         Machine learning is an application of artificial intelligence through which systems

  can automatically “learn” and improve from experience without being explicitly programmed. For

  example, an algorithm might be given access to millions of pictures and told whether each of those

  pictures contained a human face. Through the millions of pictures and feedback, the program can

  learn patterns which can allow it to detect human faces.

       113.         Humans, however, excel at detecting human faces. Machine learning is most useful

  when used to detect patterns in areas where humans are not especially skilled. Many of these uses

  arise in the financial services industry.
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     114.         For example, Capital One and other banks use machine learning to detect

  unauthorized use of credit cards. Provided with the history of millions of users’ credit card

  transactions - including unauthorized transactions - a machine learning program can learn patterns

  suggestive of unauthorized transactions. With additional information from the users’ own

  transaction history, the program can detect transactions which might be unauthorized. The bank

  can then prompt the user to confirm the transaction.

     115.         Machine learning requires data. There is a direct correlation between the amount of

  data provided to the machine learning algorithm and the effectiveness of machine learning

  algorithms. Thus, the more data Capital One makes available to its machine learning programs,

  the more accurate – and therefore useful – those programs will be.

     116.         Capital One also employs machine learning for various other tasks. Among many

  other examples, Capital One uses machine learning programs working on vast information

  databases to create real-time, individualized advertisements to maximize the chances of

  successfully selling a product or service to a customer, and uses deep learning techniques using

  more than one hundred million credit card applications to make more informed credit decisions.

  The machine learning algorithms comb through disparate sets of data, for example transaction

  history, credit history, current events, general demographic data, along with many others, as well

  as response rates to different offers or default rates, to determine the likely success rate of different

  offers or credit strategies for individual customers.

     117.         To enable more effective machine learning, vast data lakes must be organized and

  accessible to the machine learning algorithms. Thus, to power machine learning, Capital One had

  to create data lakes and make their data accessible. The more data Capital One placed in the data

  lakes, the better its machine learning algorithms would be; the more machine learning algorithms



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  Capital One granted access to the data lakes, the more specialized algorithms Capital One would

  have.

       118.         Defendants could have compromised between the need for high-performing

  programs and data security. Or Defendants could have instituted simple data protection techniques.

  But as more fully set out below, contrary to their statements that the digital transformation would

  improve all aspects of Capital One’s business, including cybersecurity, every time Defendants had

  to choose between better-performing machine learning programs and data security, it chose

  machine learning. As a result, a breach of the data lake was inevitable. Because the data lakes were

  enormous, if Capital One were hacked by criminals out for profit, any breach would be

  catastrophic.

  B.          Capital One Created Too Many Data Lakes and its Data Lakes Were Overbroad

       119.         To empower its machine learning programs, Capital One created huge data lakes.

       120.         In the Data Breach, the hacker was able to access a data lake containing the personal

  information of persons who had applied for credit cards as far back as 2005.

       121.         Storing data from as far back as 2005 would have provided useful information for

  Capital One’s machine learning algorithms. It would have allowed them to learn how applicants

  who received credit in the flush years of the mid 2000’s would perform during the Great Recession.

  This information would help Capital One make decisions about extending credit today when credit

  is again relatively easy.

       122.         Further, to support its machine learning algorithms, Capital One included credit

  outcomes alongside the customers’ personally identifying information. These include the

  customers’ financial data, such as income, credit limits, credit scores, and payment history. By

  including information about the ultimate results, Capital One allowed its algorithms to determine

  whether any particular extension of credit was successful – and thereby to discern patterns about
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  applicant characteristics that are indicative of success. In essence, keeping the data lakes the way

  they were allowed Capital One to teach its algorithms to identify not only poor credit risks but also

  “heavy spenders.”

     123.        But customers who score high on these metrics are ideal targets for identity fraud,

  since fraudsters will be able to use their information to take out larger loans or larger amounts of

  credit, apply for larger tax refunds, or the like. Thus, not only did Capital One store the data

  necessary for fraudsters to commit identity fraud, it identified exactly which customers’ identities

  were the most worth stealing.

     124.        The sole purpose of these vast and insecure data lakes was to enhance machine

  learning.

     125.        Capital One’s retention of data far exceeds customers’ reasonable expectations of

  how their data would be used. Customers applying for a credit card in 2005 would not imagine

  that their personal information would still be stored and used fourteen years later, alongside later

  years’ financial information.

     126.        By keeping so much data and pointing out to hackers exactly how to use the data,

  Capital One ensured that any data breach by criminals intent on the fraudulent use or sale of

  personal information would be catastrophic.

     127.        Moreover, according to FE 1, while FE 1’s division was in charge of creating the

  cloud security infrastructure, Capital One delegated authority for security to individual lines of

  business (e.g. credit cards, auto loans, commercial credit), thus permitting each line of business to

  create its own massive data lakes




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       128.         The data lake whose data was stolen by the hacker responsible for the Data Breach

  was plainly created by the credit card division. But as FE 1’s report shows, Capital One’s other

  divisions also created their own data lakes, each of which was a vulnerability.

       129.         Compounding the problem, FE 2 reported that Capital One did not have a map of

  its internal network. Capital One had acquired numerous banks and tech companies. Capital One

  had granted these acquired companies access to its network but had not retired the companies’ own

  network. Thus, Capital One’s network was large and hazardous. Yet Capital One never created a

  complete map of its network.

       130.         Moreover, according to FE 2, Capital One had acquired numerous data lakes as a

  result of its many acquisitions. In fact, when Capital One acquired a company, it was more likely

  than not that it would not incorporate the data lakes into its network map. Capital One had many

  data lakes it did not even know existed.

  C.          Capital One Granted Access to the Data Lakes Far Too Easily

       131.         When guarding sensitive information, any person with access is a potential data

  thief. Thus, it is a widely-accepted basic cybersecurity principle that companies should limit users

  to the level of permissions necessary to do their jobs (“least privilege principle”). 9 The least

  privilege principle is enshrined in several cybersecurity best practices Capital One claimed to

  follow.

       132.         According to FE 1, not only would individual lines of business create their own

  data lakes, they were also responsible for creating their own security protocols and access controls.




  9
    For example, an industry publication put out by an organization which counts Capital One as a
  member explains: “The more people who have access to cardholder data, the more risk there is
  that a user’s account will be used maliciously.” Payment Card Industry (PCI) Data Security
  Standard: Requirements and Security Assessment Procedures.
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  Individual lines of business decided to whom to grant access to their data lakes. Individual lines

  of business were also responsible for insuring that “access aligned with responsibilities” of the

  parties seeking access to data.

     133.          FE 1’s group was responsible for creating and implementing Capital One’s data

  security infrastructure. According to FE 1, the infrastructure FE 1 created was like a building; the

  lines of business were like tenants. According to FE 1, each tenant was in charge of creating and

  managing its own plumbing, electrical systems, and the like. This creates substantial risks, as

  different tenants will have different preferences as to necessities.

     134.          The resulting security controls were chaotic. Even assigning responsibility for the

  Data Breach is difficult, FE 1 said, because “so many parties are involved.”

     135.          Leaving each division responsible for its own security would clearly have benefited

  Capital One’s programming and machine learning. By streamlining the process of obtaining access

  controls, Capital One made it easier for the lines of business to grant wide access to facilitate more

  rapid development. Further, by placing access controls in the hands of persons who reported to the

  heads of lines of business who were evaluated based on their business lines’ operations – rather

  than to a CISO whose primary responsibility was data security – Capital One ensured that the

  access controls would prioritize operational effectiveness over security.

     136.          After the Data Breach, technology journalists Rob Wright and Chris Kanaracus

  published an August 5, 2019 article reporting on a conversation with a former Capital One

  cybersecurity employee. The employee was quoted as saying that Capital One’s practice was to

  set overbroad access:

            Setting permissions can be tricky, too. You may be in a rush to push out code, and if you
            set permissions that are too narrow, you’ll be flooded with troubleshooting requests. So
            what ends up happening is you set wider permissions and greater access than is necessary.



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     137.       Indeed, between 2017 and 2019, there were four separate incidents in which Capital

  One insiders used overbroad permissions to improperly access multiple customers’ personal

  information. Capital One was responsible for more insider breaches than any other bank. See ¶220,

  below.

     138.       FE 2 reports that compared to his government and subsequent private practice

  experience, Capital One’s cybersecurity was “lackadaisical.”

     139.       FE 2 reports one example of Capital One’s recklessness with personal data. In

  September 2016, Yahoo Inc. announced that it had suffered a data breach which exposed 500

  million Yahoo accounts. FE 2’s superior hired a company closely connected with the Russian

  government and intelligence agencies (“Russia-Affiliated Vendor”) to illegally purchase the

  breached data on the Dark Web.

     140.       Capital One then stored the stolen Yahoo usernames and passwords on its own

  server in a searchable plaintext spreadsheet. Capital One did not encrypt the usernames and

  passwords in any way. Thus, anyone with access to the server could access the usernames and

  passwords. Yahoo usernames were displayed to anyone who corresponded with the user. Thus,

  any one of Capital One’s then-47,300 employees could search the spreadsheet for the usernames

  of ex-lovers, persons against whom they had a vendetta, or persons about whom they were curious,

  and obtain access to their email. To FE 2’s knowledge, the database was not taken down while he

  was employed by Capital One.

     141.       FE 2 also reports that his superior had also hired the Russia-Affiliated Vendor for

  a regular contract. To obtain the Russia-Affiliated Vendor’s services, Capital One employees

  logged directly onto the Vendor’s website without using a virtual private network (i.e., a VPN).




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  The manner in which Capital One used these services also gave this Vendor access to Capital

  One’s server and the data contained therein.

     142.        From his previous government experience, FE 2 was aware of classified and

  unclassified information raising counterintelligence concerns about the Russia-Affiliated Vendor.

  Further heightening FE 2’s concerns, the Russia-Affiliated Vendor had asked Capital One, and

  been asked by Capital One, unusual questions of a political nature. In December 2016, FE 1

  provided the unclassified information to his superior and raised his counterintelligence concerns

  in a four- to six-page memo. In a March 2016 meeting, FE 2 and FE 2’s colleague (a retired FBI

  agent with 24 years’ experience) urged FE 2’s superior to terminate the contract with the Russia-

  Affiliated Vendor. FE 2 and FE 2’s colleague offered to have certain of their former colleagues

  who still worked for the government provide an unclassified briefing. Instead, FE 2’s superior

  ordered FE 2 and his colleague not to disclose anything about the contract to the government. An

  unrelated meeting between FE 2 and certain government employees was cancelled.

     143.        Alarmed by FE 2’s superior’s response, FE 2 sent the memo he had written along

  with a summary of the dispute to Capital One’s human resources department. FE 2 also told Capital

  One’s human resources department about the plaintext Yahoo username and passwords on Capital

  One’s server. FE 2 was put in touch with a separate department within human resources with

  internal security audit functions, which handled his complaint.

     144.        Yet even as FE 2’s complaint was “investigated”, FE 2’s superior pressured FE 2’s

  colleague into approving the renewal of the contract with the Russia-Affiliated Vendor. The

  contract was in fact approved. No approval from Capital One’s legal department or anyone else

  was sought or obtained.




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       145.         In retaliation for FE 2’s memo and complaint, FE 2’s superior placed FE 2 on

  probation. Capital One eventually pushed out both FE 2 and FE 2’s colleague. The contract with

  the Russia-Affiliated Vendor was not terminated.

  D.          Capital One’s “Lackadaisical” Security and Multiple Security Breaches Created an
              Environment Where Employees Could Easily Miss Impermissible Transfers

       146.         According to FE 1, individual lines of business were also responsible for

  monitoring their networks for unusual uses of data that might be data breaches.

       147.         According to FE 1, a competent network should have been able to detect when the

  hacker exfiltrated large amounts of data from Capital One’s server.

       148.         By granting access to so many individuals and machine learning programs, Capital

  One created so many sources of legitimate data requests that it was difficult to identify illegitimate

  data requests.

       149.         Moreover, Capital One suffered near-constant cybersecurity attacks and data

  breaches. According to FE 3, during his tenure, Capital One suffered upwards of 20 cyber attacks

  per month. According to FE 3, Capital One “didn’t know what to do to prevent” cybersecurity

  incidents, and instead would “just hope” that any breach would “not be so bad.”

       150.         FE 3 attended regular meetings with Defendant Johnson. In these meetings, FE 3

  reported to Johnson data from his team about attacks on Capital One’s server. FE 3 understands

  that in turn, these breaches were reported to Defendant Alexander.

  E.          Capital One’s Encryption Did Literally Nothing to Stop Hackers from Obtaining
              “Encrypted” Data

       151.         Capital One protected its data behind a Web Application Firewall (“WAF”). A

  WAF is, in effect, a shield placed between a server and traffic originating from the Internet which

  aims to filter out malicious attacks.



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     152.        A WAF uses programmed rules to distinguish between legitimate access requests,

  which it permits, and illegitimate access requests, which it denies.

     153.        If a request is legitimate, then the WAF automatically assigns the requester a role.

  These roles establish what portions of the server the requester will have access to as well as the

  conditions of that access. The requester receives temporary credentials assigned to that role.

     154.        If properly implemented, a WAF should deny access to all entrants except those

  who have already been approved. But Capital One’s WAF was misconfigured, allowing access to

  malicious outsiders under certain circumstances.

     155.        Basic cybersecurity principles require multiple layers of defense. There are too

  many malicious actors to presume that a firewall will keep out all intruders.

     156.        Encryption is the second line of defense behind any firewall, including a WAF.

  Proper encryption ensures that if an intruder breaches the firewall, the intruder will only obtain

  unusable encrypted data.

     157.        But Capital One’s “encryption” did no such thing. The credentials assigned with all

  roles automatically decrypted all data in the data lakes. Thus, merely bypassing the firewall gave

  an intruder unencrypted data. Since an intruder by definition bypasses the firewall, this meant that

  encryption was absolutely ineffective. It is akin to locking a door with two locks but having the

  same key open them both.

     158.        In announcing the Data Breach, Capital One defended itself by claiming that the

  method the hacker used to obtain access to the server decrypted the data.

     159.        Experts scoffed at Capital One’s excuse.

     160.        John Bambenek, VP security research and intelligence at cybersecurity firm

  ThreatSTOP, was quoted in a July 30, 2019 Motherboard article as saying that Capital One’s



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  “encryption is academic at best because if just a username and password is required, then for any

  threat model in effect there is no encryption.”

       161.         A July 30, 2019 SC Magazine article quoted Jerry Ray, COO of SecureAge, as

  saying that “Capital One’s claims regarding its encryption practices is weak. Particularly the line

  about, ‘unauthorized access also enabled decrypting,’ which goes against the very core function

  of responsible encryption practices. It’s precisely when unauthorized attempts to access data occur

  that encryption displays its value and worth.”

       162.         Other experts simply described Capital One’s data as “unencrypted.” An August 2,

  2019 CIO Dive article reported remarks by M. David Peterson, cloud architect at MasterControl,

  that “Capital One made a mistake in not encrypting data.” Peterson added that the decision was

  obviously wrong – “Why store anything on S3 unencrypted?”

       163.         Dylan Gilbert of the independent group Public Knowledge was quoted as saying

  “Why didn’t Capital One fully encrypt this data, and why didn’t the company place this vast trove

  of personal information behind a properly configured firewall?”

       164.         Once past the firewall, any user with Capital One credentials – a username and

  password – would have the data automatically decrypted by Capital One. Every hacker necessarily

  obtains credentials from the company to perpetrate the hack. Capital One’s encryption was utterly

  pointless.

  F.          The Wall Street Journal Reports Internal Strife in Capital One’s Cybersecurity
              Division

       165.         On August 15, 2019, the Wall Street Journal published an exposé, written by

  AnnaMaria Andriotis and Rachel Loise Ensign, about the Capital One culture which had led to the

  Data Breach (“August 15 Exposé”). The August 15 Exposé cited conversations with multiple

  persons with knowledge.


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       166.      The August 15 Exposé recounted that Defendant Johnson clashed with

  Cybersecurity Division employees from the very beginning of his tenure as CISO. The cited

  sources reported that Johnson prioritized his own front office, which dealt with internal public

  relations, over the Cybersecurity Division’s core operations.

       167.      The quality and experience of the Cybersecurity Division’s employees is critical to

  Capital One’s operations. In fact, Capital One’s board regularly reviewed the Cybersecurity

  Division’s attrition rates. Capital One’s 2018 and 2019 Proxy Statements each provided that “[t]he

  Risk Committee receives regular quarterly reports from the Chief Information Security Officer on

  the Company’s cyber risk profile and enterprise cyber program and meets with the Chief

  Information Security Officer at least twice annually.”

       168.      Yet after Johnson’s appointment, according to the sources cited in the August 15

  Exposé, turnover in the Cybersecurity Division reached crisis levels. Most of Johnson’s initial

  direct reports departed before the WSJ Article, as did many of their replacements. In total, about

  one third of the Cybersecurity Division’s employees left in 2018 – a catastrophically high rate

  given that cybersecurity employees typically have far longer tenure than other information

  technology and computer science workers. 10

       169.      Before the Data Breach, Capital One employees had raised concerns about staffing

  issues and other problems to the bank’s internal auditors, human-resources department, and other

  senior executives.




  10
    A 2017 survey reported that found that fewer than 1% of job-seeking cybersecurity
  professionals had been at their employer for less than 1 year. Hiring and Retaining Top
  Cybersecurity Talent, (ISC)2, at 16, available at https://www.isc2.org/-
  /media/Files/Research/ISC2-Hiring-and-Retaining-Top-Cybersecurity-Talent.ashx
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        170.         Capital One neglected routine cybersecurity measures. For example, in late 2017,

   Capital One purchased software from a company called Endgame to improve its ability to detect

   data being exfiltrated in Data Breaches. But more than a year after buying the software, Capital

   One still had not finished installing it. The issue was flagged to Defendant Johnson.

 VII.          LOSS CAUSATION

   A.          A Hacker Steals 106 Million Credit Card Applicants’ Unencrypted Data

        171.         On March 12, 2019, hacker Paige Thompson (who went by the username “erratic”

   on social media) gained access to a server containing one of Capital One’s vast data lakes.

        172.         Because Capital One granted access promiscuously, by merely accessing the server,

   Thompson gained access to a vast data lake. The data lake contained data from fifteen years of

   individual and small business credit card applications made in the U.S. and Canada. Each

   individual entry listed the applicant’s name, address, telephone number, email address, date of

   birth, last four digits of social security numbers, and estimated income. There were 106 million

   individuals affected. In addition, the data lake contained about one million Canadian applicants’

   Social Insurance Number, Canada’s equivalent to social security numbers.

        173.         Thompson acted alone. She was not assisted by any Capital One employee or any

   others.

        174.         After obtaining access to the server, on March 22 and 23, 2019, Thomson used a

   command to list all the resources she had obtained access to. Thompson did so again on or about

   April 21, 2019.

        175.         The data contained in the data lake were not meaningfully encrypted. By obtaining

   access to Capital One’s servers, Thompson was assigned credentials that automatically decrypted

   all the data available in the data lake.



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     176.        Capital One tokenized most applicants’ social security numbers and bank account

  numbers – i.e., replaced them with an undecipherable token referring to the original stored in a

  secure data vault. Yet 140,000 applicants’ social security numbers and 80,000 customers’ bank

  account numbers in the data lake were not tokenized. Thompson obtained these social security

  numbers and bank account numbers, too. The Canadian applicants’ Social Insurance Numbers

  were also not tokenized.

     177.        The data Thompson gained access to also included, for each customer, the

  customer’s status data, consisting of (for example) credit scores, credit limits, balances, payment

  history, and contact information. The data lake linked these data to the applicants’ personal

  identifying information. Using these data, Thompson could have identified those applicants who

  had high credit scores, high credit limits, and high balances, precisely the kind of customers’

  information that is highly valued by criminals because their identities are the most profitable to

  steal. By linking financial information to Capital One customers’ personal information, Capital

  One made the leaked data orders of magnitude more valuable to criminals. Guaranteed a high

  return if they are successful, criminals, in turn, were much more likely to “invest” in committing

  identity theft. Thus, Capital One’s Data Breach could have proven every bit as destructive as the

  Equifax breach.

     178.        Thompson also obtained transaction data from a total of 23 days during 2016, 2017,

  and 2018. Thompson could have identified embarrassing transactions and used the information to

  blackmail customers.

     179.        On April 21, Thompson exfiltrated the data to outside of Capital One’s firewall.




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  B.          Capital One Does Not Learn of the Data Breach Until It Is Informed That the Hacker
              Had Publicly Bragged About It

       180.         Thompson’s entries into Capital One’s public cloud, and her actions therein, were

  recorded in Capital One’s computer logs. Reviewing computer logs for suspicious actions is a

  fundamental principle of cybersecurity. But amid the chaotic requests made by Capital One’s

  complex machine learning algorithms and multiple user accesses, Thompson’s access was missed.

       181.         Indeed, Thompson was also able to employ Capital One’s computing power to mine

  bitcoins without alerting Capital One. Mining bitcoins required extensive day-to-day unauthorized

  use of Capital One’s computing power.

       182.         Capital One did not detect Thompson’s entry, did not detect her copying the data,

  and did not detect that she was using Capital One’s computer power to mine bitcoins.

       183.         On June 18, Thompson said on a private slack channel that she had obtained Capital

  One customers’ social security numbers, full names, and dates of birth. On July 17, a member of

  the private slack channel reported the Data Breach to Capital One, along with the specific code

  Thompson had employed to breach Capital One’s firewall.

       184.         Capital One then determined that its computer logs reflected Paige Thompson’s

  hacking of its servers set out in ¶¶172, 176-78, above.

  C.          Capital One Only Escaped Catastrophic Harm Because It Was Incredibly Lucky

       185.         Had Capital One been hacked by a conventional team, the ramifications would have

  been catastrophic. Because Capital One’s data identified which customers criminals should target,

  the data would have fetched exorbitant prices on the dark web. Criminals would have eagerly

  cashed in on their purchase by stealing high-value customer’ identities. By increasing the average

  payoff for a successful theft, Capital One would have ensured that a far higher proportion of

  customers whose data was leaked would have their identity stolen. Meanwhile, criminals would


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  have attempted to blackmail Capital One customers who had embarrassing transactions. The leak

  would have gone undetected until the data was already sold, because conventional criminal

  hacking teams keep quiet about their crimes.

       186.          Yet Capital One was not hacked by a conventional team. It was hacked by

  Thompson – a disturbed individual acting alone who had no plans to monetize her theft and got

  caught because she boasted of the hack.

       187.          As Blackley acknowledged at the Barclays Global Financial Services Conference

  taking place on September 10, 2019:

              And our investigation concluded that the individual was basically hacking to steal
              computing power and that the purpose for that was crypto mining rather than looking for
              personal data for fraud. It’s now been a month since the arrest happened, and the US
              Attorney’s Office has continued to investigate after the arrest. And they actually announced
              during the bail hearings in August that they believed that they have recovered the only copy
              of the data and that they see no evidence that the data was used for fraud, that it was sold
              or otherwise disseminated. They also indicted the perpetrator two weeks ago, and no
              changes were brought -- or no charges were brought around fraudulent use of the data. So
              we’re in a slightly different situation of having data that wasn’t -- while it was accessed, it
              appears that it was not released or used for fraud in any way. I think that makes this
              situation a bit unique.

       188.          Had the Capital One hacker been a conventional hacking team, Capital One might

  have suffered billions of dollars in damages. Through sheer dumb luck, while the Data Breach

  revealed that Defendants’ statements were false, Capital One never suffered the catastrophic harm

  these statements concealed.

  D.          Capital One’s Announcement of the Data Breach Shocks the Market

       189.          On July 29, 2019, after trading closed, Capital One issued a press release

  announcing that: (a) it had suffered a data breach; (b) the hacker had stolen 106 million credit card

  applicants’ data; (c) the stolen data consisted of the data set out in ¶¶¶¶172, 176-78, above. Yet in

  the press release, Capital One also reassured investors that “[b]ased on our analysis to date, we

  believe it is unlikely that the information was used for fraud or disseminated by this individual.”

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     190.        On July 30, 2019, the price of Capital One’s shares fell 5.9% on heavy volume from

  its previous close of $96.92 to $91.21, damaging investors.

     191.        In its press release announcing the data breach, Capital One estimated that it would

  spend $100 million to $150 million in 2019 alone on remediation. As of around October 4, 2019,

  Capital One employees in its tech and cyber departments had spent 200,000 hours responding to

  and remediating the Data Breach.

     192.        Analysts who had been repeatedly told by Capital One about its tech savvy were

  surprised that the Data Breach had occurred:

             a. A July 29, 2019 J.P. Morgan report stated that “We note, however, that [Capital

                 One] has been an industry leader in moving towards cloud-based service […] While

                 it is unclear whether this is directly related to [Capital One]’s transition to a cloud-

                 based infrastructure, we believe this will be a renewed concern going forward.”

             b. A July 30, 2019 Morgan Stanley report stated that the “Cyber incident raises

                 questions on how best to police and protect client information. Capital One has not

                 been shy about its journey towards a 100% cloud model, which comes with today’s

                 period of leveraging Amazon Web Services. Today’s revelation reminds investors

                 of the trust that financial institutions place in their client-facing employees and

                 highlights risks of outsourcing any part of client-facing operations.”

             c. A July 30, 2019 Credit Suisse report stated that “[S]ince [Capital One] has been

                 vocal about the importance of financial institutions migrating to the cloud, investors

                 may now have questions on the vulnerability of such infrastructure[.]”




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             d. A July 29, 2019 RBC report stated that “We want to be fair and balanced in our

                    thinking on the stock, but it is a tough headline and there are likely some

                    challenging public and political pressures ahead.”

     193.           Security experts were likewise shocked that Capital One fell prey to such an

  unsophisticated attack. John Dickson, a security professional with security consulting firm Denim

  Group, was quoted in a July 31 article as saying that “[t]he biggest surprise is the amateur nature

  of the attack,” adding that it was “absolutely earth-shattering” that the attacker obtained so much

  data so easily.

     194.           In addition to financial losses, Capital One suffered substantial reputational harm.

  A bank like Capital One must prove to customers that the bank will maintain their private data

  with the strictest security. Customers trust their banks with critical information, including social

  security numbers. Customers provide banks with deeply personal information like their income,

  their indebtedness, and their purchases. Customers rightly fear that criminals who obtain their bank

  information will be able to directly cause them financial harm.

     195.           Defendant Fairbank acknowledged before the data breach that Capital One had a

  critical competitive advantage because while customers do not necessarily expect such care from

  tech companies, they do expect that banks will keep their data safe. See ¶241, below. By exposing

  how much Capital One’s business plan depended on loosening security restrictions, news of the

  data breach gave customers a reason to find a bank which is not cavalier with their data.

     196.           In an August 13 letter to Senator Ron Wyden, Amazon Web Services stated that it

  offered three services that would have prevented or rapidly detected the hack.

     197.           In November 2019, the Wall Street Journal reported that Capital One fired

  Defendant Johnson because of the Data Breach.



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        198.         The Data Breach spurred investigations by a dozen state Attorneys General and the

  House Committee on Oversight and Reform. In addition, Capital One faces at least 70 consumer

  class actions over the Data Breach, filed in both the U.S. and Canada.

VIII.          DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

  A.           Capital One’s Legal Obligations and Industry Practices

        199.         The U.S., individual states, and foreign countries in which Capital One did

  substantial business regulate its conduct regarding protection for and use of data.

        200.         The Gramm-Leach-Bliley Financial Services Modernization Act of 1999

  (“GLBA”) requires financial institutions to “protect the security and confidentiality” of the

  personal information they collect by, among other things, “develop[ing], implement[ing], and

  maintain[ing] a comprehensive information security program” that “contains administrative,

  technical, and physical safeguards that are appropriate to [the] size and complexity [of the financial

  institution], the nature and scope of [its] activities, and the sensitivity of any customer information

  at issue” (“Safeguards Rule”). The Federal Trade Commission, responsible for enforcing the

  Safeguards Rule, has issued guidance and published regulatory decisions interpreting the measures

  financial institutions must take to comply with the Safeguards Rule.

        201.         In its interpretation of the Safeguards Rule, the FTC recommends:

                  a. Limiting access to customer information to employees who have a business reason

                     to see it.

                  b. Know where sensitive customer information is stored and store it securely.

                          i. When customer information is stored on a server or other computer,
                             ensure that the computer is accessible only with a “strong” password and
                             is kept in a physically-secure area.
                         ii. Where possible, avoid storing sensitive customer data on a computer with
                             an Internet connection.


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                    iii. Maintain a careful inventory of your company’s computers and any other
                         equipment on which customer information may be stored.
       202.      The FTC has interpreted Section 5 of Federal Trade Commission Act (“FTC Act”),

  barring “unfair or deceptive acts or practices”, to encompass failures to appropriately store and

  maintain personal data. The body of law created by the FTC recognizes that the following conduct

  may violate the FTC Act:

              a. Citing the National Research Council, the FTC has concluded that “[p]rocedures

                 should be in place that restrict users’ access to only that information for which they

                 have a legitimate need.”11 Failure to segregate access may violate FTC Act.

              b. Failure to use “readily available security measures [] to limit access between and

                 among” various data storage systems. 12

              c. Providing nearly all employees ability to exercise administrative control and obtain

                 personal information.13

       203.      Capital One did substantial business in Canada, whose Canadian Model Code for

  the Protection of Personal Information mandates the implementation of safeguards to protect

  information in proportion to its sensitivity. These safeguards include “limiting access on a ‘need

  to know’ basis” and “the use of passwords and encryption.”

       204.      The PCI (Payment Card Industry) Security Standards Council, which counts

  Capital One as a member, has published its Payment Card Industry (PCI) Data Security Standard:




  11
      In the Matter of LabMD, Inc., Dkt. No. 9357, Slip Opinion, at 15, available at
  https://www.ftc.gov/system/files/documents/cases/160729labmd-opinion.pdf.
  12
     F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 258 (3d Cir. 2015).
  13
     In the Matter of Twitter, Inc., 151 F.T.C. 162, 164 (2011).
                                                  47
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  Requirements and Security Assessment Procedures (“Requirements”), the latest version of which

  is dated May 2018.

     205.       Capital One violated the Requirements’ mandates concerning data retention,

  encryption, and access.

     206.       Capital One’s unreasonably long retention periods violated the Requirements’

  mandates on data storage, which command in relevant part:

             a. Keep cardholder data storage to a minimum by implementing data retention and

                disposal policies, procedures and processes that include at least the following for

                all cardholder data [] storage:

                       i. Limiting data storage amount and retention time to that which is required

                          for legal, regulatory, and/or business requirements.

     207.       By automatically decrypting data for entrants, Capital One violated the

  Requirements’ mandates on encryption and access, which command in relevant part:

             a. Restrict access to cryptographic keys to the fewest number of custodians necessary.

             b. Store cryptographic keys in the fewest possible locations.

             c. Secure cryptographic key distribution.

             d. Secure cryptographic key storage.

             e. Limit access to system components and cardholder data to only those individuals

                whose job requires such access.

             f. Establish an access control system(s) for systems components that restricts access

                based on a user’s need to know, and is set to “deny all” unless specifically allowed

                [including] [a]ssignment of privileges to individuals based on job classification and

                function.



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                 g. Encrypt all non console [local computer] administrative access using strong

                     cryptography.

                 h. Restrict inbound and outbound traffic to that which is necessary for the cardholder

                     data environment, and specifically deny all other traffic.

       208.          Capital One’s 2015, 2016, 2017, and 2018 10-Ks,14 each of which was signed by

  Defendant Fairbank, each provided that:

              Compliance Risk Management

              We recognize that compliance requirements for financial institutions are increasingly
              complex and that there are heightened expectations from our regulators and our customers.
              In response, we continuously evaluate the regulatory environment and proactively adjust
              our compliance risk program to fully address these expectations.
              Our Compliance Management Program establishes expectations for determining
              compliance requirements, assessing the risk of new product offerings, creating appropriate
              controls and training to address requirements, monitoring for control performance, and
              independently testing for adherence to compliance requirements. The program also
              establishes regular compliance reporting to senior business leaders, the executive
              committee and the Board of Directors.
              The Chief Compliance Officer is responsible for establishing and overseeing our
              Compliance Risk Management Program. Business areas incorporate compliance
              requirements and controls into their business policies, standards, processes and procedures.
              They regularly monitor and report on the efficacy of their compliance controls and
              Corporate Compliance periodically independently tests to validate the effectiveness of
              business controls.
              (first emphasis in original)

       209.          Each of the 10-Ks defines compliance risk as “the risk to current or anticipated

  earnings or capital arising from violations of laws, rules, or regulations. Compliance risk can also

  arise from nonconformance with prescribed practices, internal policies and procedures,

  contractual obligations, or ethical standards that reinforce those laws, rules, or regulations[.]”




  14
    Filed, respectively, on February 25, 2016, February 23, 2017, February 21, 2018, and February
  20, 2019.
                                                      49
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       210.          Capital One’s Online & Mobile Privacy Statement, available on its website

  throughout the Class Period, advised Capital One customers in relevant part:

              At Capital One, we make your safety and security a top priority and are committed to
              protecting your personal and financial information. If we collect identifying information
              from you, we will protect that information with controls based upon internationally
              recognized security standards, regulations, and industry-based best practices.

       211.          The emphasized statements in this section were false and misleading because they

  gave investors the misleading impression that with respect to cybersecurity Capital One had met

  and exceeded: (a) regulatory requirements; (b) customer expectations; and (c) industry best

  practices. In truth, defendants knew or were reckless in not knowing that Capital One was

  sacrificing cybersecurity by creating dangerously large data pools, granting widespread access,

  and failing to monitor data requests, as more fully set out in ¶¶105-170, above; and violating a host

  of industry practices and ethical standards, as set out in ¶¶105-170, above.

  B.          Defendants Violated Regulatory Obligations To Disclose Information About the
              Risks Created By Capital One’s Cybersecurity Policies

       212.          In October 2011, the SEC provided guidance on disclosure of cybersecurity risks

  (“2011 Guidance”). In the 2011 Guidance, the SEC informed companies that “[r]egistrants should

  disclose the risk of cyber incidents if these issues are among the most significant factors that make

  an investment in the company speculative or risky.” Disclosure should include “[d]iscussion of

  aspects of the registrant’s business or operations that give rise to material cybersecurity risks and

  the potential costs and consequences.” Companies should also “address cybersecurity risks and

  cyber incidents in their MD&A if the costs or other consequences associated with [] the risk of

  potential incidents represent a material event, trend, or uncertainty that is reasonably likely to have

  a material effect on the registrant’s results of operations, liquidity, or financial condition or would

  cause reported financial information not to be necessarily indicative of future operating results or

  financial condition.”

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     213.          On February 21, 2018, in the wake of several high-profile data breaches, the SEC

  issued its Statement and Guidance on Public Company Cybersecurity Disclosures, Release Nos.

  33-10459; 34-82746 (“2018 Guidance”).

     214.          The purpose of the 2018 Guidance is to provide the SEC’s views on issuers’

  obligations to disclose material cybersecurity risks.

     215.          In the 2018 Guidance, the SEC emphasized that “it is critical that public companies

  take all required actions to inform investors about material cybersecurity risks and incidents in a

  timely fashion, including those companies that are subject to material cybersecurity risks but

  may not yet have been the target of a cyber-attack.”

     216.          In the 2018 Guidance, the SEC explained that it:

            Expect[s] companies to provide disclosure that is tailored to their particular cybersecurity
            risks and incidents. As the Commission has previously stated, we ‘emphasize a company-
            by-company approach [to disclosure] that allows relevant and material information to be
            disseminated to investors without boilerplate language or static requirements while
            preserving completeness and comparability of information across companies.’ Companies
            should avoid generic cybersecurity-related disclosure and provide specific information that
            is useful to investors.

     217.          Capital One CFO Richard Blackley acknowledged at the Barclays Global Financial

  Services Conference on September 10, 2019 that “obviously, for a financial services firm, making

  sure that data is secure is a mission-critical thing[.]”

     218.          In each of Capital One’s 2015-2018 10-Ks, Defendants warned identically of

  cybersecurity risks. These disclosures were not tailored to Capital One, but instead applied to any

  company with large amounts of data and any financial services firm.

     219.          In the 2018 Guidance, the SEC also stated that:

            In meeting their disclosure obligations, companies may need to disclose previous or
            ongoing cybersecurity incidents or other past events in order to place discussions of these
            risks in the appropriate context. For example, if a company previously experienced a
            material cybersecurity incident involving denial-of-service, it likely would not be sufficient
            for the company to disclose that there is a risk that a denial-of-service incident may occur.
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              Instead, the company may need to discuss the occurrence of that cybersecurity incident and
              its consequences as part of a broader discussion of the types of potential cybersecurity
              incidents that pose particular risks to the company’s business and operations.

       220.            Montana law requires that businesses notify its Office of Consumer Protection

  whenever a Montanan’s personal information is compromised. The Office of Consumer Protection

  posts       all    such    notices    on   the   Montana   Department     of   Justice’s   website.   See

  https://dojmt.gov/consumer/databreach/. Between 2017 and the Data Leak, there were four

  separate incidents in which Capital One insiders used overbroad permissions to improperly access

  more than one Montana Capital One customer’s information:

                    a. Between January 2017 and April 2017, a former Capital One employee improperly

                       accessed Montana Capital One customers’ personal information; 15

                    b. As reported in a June 18, 2018 sample letter, at an unspecified time, another former

                       employee again accessed Montana Capital One customers’ bank account

                       information;16

                    c. Between June 9, 2018, and July 23, 2018, a former employee of a Capital One

                       service provider accessed Montana Capital One customers’ personal information; 17

                    d. Between December 1, 2018, and April 19, 2019, a former Capital One employee

                       accessed Montana Capital One customers’ personal information. 18

       221.            No other bank had close to as many insider breach incidents during this period, or

  even cybersecurity incidents of any kind.




  15
     https://media.dojmt.gov/wp-content/uploads/Capital-One-2-1.pdf
  16
     https://media.dojmt.gov/wp-content/uploads/Capital-One-6.2018-notification.pdf
  17
     https://media.dojmt.gov/wp-content/uploads/Capital-One-5.pdf
  18
     https://media.dojmt.gov/wp-content/uploads/Consumer-21.pdf
                                                        52
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       222.          Capital One’s 10-Ks were knowingly or recklessly false and misleading, as more

  fully set out in ¶¶105-170, above, for omitting to disclose that (a) Capital One was sacrificing

  cybersecurity by creating dangerously large data pools, granting widespread access, and failing to

  monitor data requests, and (b) Capital One faced a “particular risk” from overbroad access granted

  to presumed insiders.

  C.          Defendants Falsely and Misleadingly Stated that Capital One’s                         Digital
              Transformation Was A Shared Path Which Led to Better Cybersecurity

       223.          Defendants made clear that the digital transformation to which they purportedly

  dedicated so much of Capital One’s resources was a “shared path” which led to better

  cybersecurity. As Defendant Fairbank claimed on a call to discuss Capital One’s Q3 2018 earnings

  taking place on October 23, 2018:

              [W]hat I am struck by [] and I’m not surprised by it, because I believe that that will
              accelerate here is that going all-in on this transformation is the opportunity to be way
              faster to the market, offer way better products, have way better risk management along
              credit dimensions, fraud, cybersecurity, that’s all a shared path, same thing. Better
              operating controls in a world where the regulatory requirements and frankly the
              expectations on banks to deliver well-controlled environment in a complex industry is very,
              very high, better economics, and all of this in service of the most important thing, which is
              real-time, personalized experience for our customers, not just in an app, but integrated right
              into their lives. So that’s the journey we’re on.

       224.          This statement was one of several Class Period statements in which Defendants

  gave the misleading impression that Capital One’s digital transformation included cybersecurity.

       225.          Norris told investors and analysts at the J.P. Morgan FinTech & Specialty Finance

  Forum on November 30, 2016 that because of the digital transformation, Capital One was “also

  seeing better compliance outcomes.”

       226.          At the June 1, 2017 Sanford C. Bernstein & Co. Strategic Decision Conference,

  Defendant Fairbank stated:

              So what we’ve done over this period of time is to build out the capability of fully digital
              consumer banking and with a very robust checking account capability, all the fraud

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            defenses that go along with digital banking, which by the way are significant, because
            fraudsters by the way don’t go walking into local banks. They go set up checking accounts,
            they like to do all this stuff online.

     227.          As Capital One CFO Stephen S. Crawford explained at the J.P Morgan Fintech &

  Specialty Finance Forum on December 2, 2015:

            <Q>: The second part of the question is – and you’ve talked again about your technology
            spending, it’s something that we have heard across the industry and one of the things that
            we haven’t head as people talk about this, but we kind of wonder of underneath the surface,
            is this one of the things that’s going on. How much of this is really devoted to cyber security
            and how big a concern is cyber security?

            <Crawford>: Cyber [security] is an important part of the overall digital process and you
            I think as a financial institution trust, the trust of our customers is critical, and we want
            to make sure that we’re a leader in cyber, so it’s one of the agenda items we have in the
            whole digital space.

     228.          In a presentation at the June 15, 2016 Morgan Stanley Financials Conference,

  Crawford listed, as examples of aspects of Capital One’s business that would benefit from the

  digital transformation “customer service, account acquisition, risk differentiation, regulatory

  compliance – there’s not a single major undertaking or challenge the business has where, if you

  sit back and think about the implications of being able to deploy to the cloud or big data or open

  source software, they can’t make a huge difference in both the revenue and the expense side.”

     229.          Capital One’s proxy statements also treated its digital transformation and cloud

  security in the same breath. For example, Capital One’s 2018 Proxy Statement, filed with the SEC

  on March 20, 2018, sent on behalf of the Board of Directors that Fairbank chaired, provided that

  in 2017 Capital One’s management had “[a]ccelerated focus on cloud capabilities, modern

  software engineering and delivery, and enhanced cybersecurity capabilities.”

     230.          The emphasized statements in this section were false and misleading because,

  knowingly or with reckless disregard, Defendants misled investors: (a) by including cybersecurity

  with what Defendants described as Capital One’s epochal digital transformation, Defendants gave


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  the misleading impression that Capital One was making cybersecurity a priority, when in truth, as

  more fully described in ¶¶105-170, above, Capital One was sacrificing cybersecurity by creating

  dangerously large data pools, granting widespread access, failing to monitor data requests, and

  failing to meaningfully encrypt data; (b) the statements gave the misleading impression that Capital

  One’s digital transformation was improving cybersecurity, when in fact the digital transformation

  required Capital One to abandon basic cybersecurity practices, as more fully described in ¶¶105-

  170, above; (c) the statements gave the misleading impression that cybersecurity and the benefits

  Capital One claimed from its digital transformation went hand in hand, when in truth because of

  Capital One’s business plan emphasizing the change to machine learning in its digital

  transformation, in order to maximize machine learning capabilities Defendants compromised

  cybersecurity, as more fully described in ¶¶105-170, above; and (d) defendants omitted to disclose

  that by not protecting Capital One’s customers personal data, Capital One exposed customers to

  much more, not less, serious risks of fraud, as more fully described in ¶¶105-170, above.

  D.          Defendants Claimed Cybersecurity Was One of Capital One’s Top Priorities

       231.          Defendants repeatedly made statements touting Capital One’s investments in

  cybersecurity.

       232.          In explaining the digital transformation during a July 23, 2015 call to discuss

  Capital One’s Q2 2015 earnings, Defendant Fairbank stated:

              We’re investing in cybersecurity. This is an incredibly important area and we are putting
              a lot of very top talent and a lot of energy and investment into that.

       233.          On October 7, 2015, Defendant Alexander announced at AWS re:invent 2015, an

  industry convention, that Capital One would shift all of its operations and data to the cloud. In

  prepared remarks, Defendant Alexander stated:

              … security is critical for us. The financial services industry attracts some of the worst
              cyber criminals so we work closely with the Amazon team to develop a security model that

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            we believe enables us to operate more securely in the public cloud than we can even in
            our own data centers.

     234.           On June 25, 2019, at the AWS re:inforce conference, in prepared remarks,

  Defendant Johnson stated that:

            Cyber is evolving from a trade craft to a science and cyber professionals are defining the
            future of business.
                                         *      *        *      *      *
            Most important to us is the confidentiality, integrity and the availability of our data in
            the cloud. Cloud native companies must take a multi-layered approach to security,
            leveraging internally developed tools like the Capital One-developed open source Cloud
            Custodian.

     235.           On November 21, 2018, Capital One EVP and CTO Brady, who led 4,000 Capital

  One employees, published an article on Capital One’s website. Brady’s article provided, in

  relevant part: “In an effort to help our application teams migrate to the cloud in an unencumbered

  way, we established a governance function with security and compliance as top considerations.”

     236.           Capital One’s 2015, 2016, 2017, and 2018 10-Ks provided that:

            We safeguard our customers’ and our own information and technology, implement backup
            and recovery systems, and generally require the same of our third-party service providers.
            We take measures that mitigate against known attacks and use internal and external
            resources to scan for vulnerabilities in platforms, systems, and applications necessary
            for delivering Capital One products and services.

     237.           In Capital One Press Releases dated October 31, 2017, December 5, 2017, January

  24, 2018, announcing Capital One collaborations, Rebecca Hieronimous, Capital One’s Vice

  President of Enterprise Digital Products and Data Connections, was quoted as saying “We know

  many of our customers actively use the [product at issue] and we are excited to enable this

  partnership allowing customers to share their data in a way that is secure, transparent and under

  their control.”




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       238.          Since at least September 29, 2018, Capital One’s cybersecurity policy, available on

  its website, has stated at the top of the page in roughly 33-point font that “Your security is a top

  priority”.19

       239.          The foregoing statements were false and misleading because, knowingly or with

  reckless disregard: (a) Defendants gave the misleading impression that cybersecurity was a “top”,

  “critical”, “most important”, or “incredibly important” priority for Capital One, when in truth,

  Capital One was sacrificing cybersecurity by creating dangerously large data pools, granting

  widespread access, failing to monitor data requests, and failing to meaningfully encrypt data, as

  more fully set out in ¶¶105-170, above; (b) Defendants gave the misleading impression that

  cybersecurity and the benefits Capital One claimed from its digital transformation went hand in

  hand, when in truth because of Capital One’s business plan cybersecurity and the other benefits

  anticipated from Capital One’s digital transformation were trade-offs; (c) because breaching

  Capital One’s firewall also decrypted Capital One’s data, Capital One’s data was not secure and

  had only one layer of defense.

       240.          Throughout the Class Period, Defendants claimed that as a financial institution,

  Capital One faced and followed more stringent data security requirements than tech companies.

       241.          Defendant Fairbank explained at the Barclays Global Financial Services

  Conference taking place on September 11, 2017 that Capital One would outcompete tech

  companies because of its reputation for safeguarding customers’ private information:

              Capital One is trying to build basically a tech company that happens to be a major player
              in banking and I really think the opportunity is great for players who do that. I think the
              journey is incredibly hard for banks to get there. The fact that we’re regulated, huge capital
              requirements, the risk management involved in our business and even some of the brand
              credibility associated with the management of people’s private information and their



  19
       https://www.capitalone.com/applications/identity-protection/commitment/
                                                       57
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            money are things that will help us slow banks possibly make our way successfully to the
            destination.

     242.          On a video posted to YouTube on August 24, 2018, Defendant George Brady,

  Capital One’s Executive Vice President and Chief Technology Officer, was quoted as saying:


            As a financial institution, we take the safety of our customer data incredibly seriously.
            Before we moved a single workload, we engaged groups from across the company to build
            a risk framework for the cloud that met the same high bar for security and compliance that
            we meet in our on-premises environments.

     243.          Capital One’s 2018 Proxy Statement provided:

            As a financial services company entrusted with the safeguarding of sensitive
            information, our Board believes that a strong enterprise cyber strategy is vital to effective
            cyber risk management. Accordingly, our Board is actively engaged in the oversight of
            the Company’s cyber risk profile, enterprise cyber strategy implementation and key cyber
            initiatives. The Risk Committee receives regular updates from management on its cyber
            event preparedness efforts. The Risk Committee receives regular quarterly reports from the
            Chief Information Security Officer on the Company’s cyber risk profile and cybersecurity
            program initiatives and meets with the Chief Information Security Officer at least twice
            annually. The Risk Committee also meets periodically with third-party experts, as
            appropriate, to evaluate the Company’s cybersecurity program. The Risk Committee
            annually reviews and recommends the Company’s information security policy and
            information security program to the Board for approval. The Risk Committee is also
            responsible for overseeing cybersecurity and information security risk as well as
            management’s actions to identify, assess, mitigate and remediate material issues. At least
            annually, the Board reviews and discusses the Company’s technology strategy with the
            Chief Information Officer and approves the Company’s technology strategic plan.

                                          *      *       *      *      *
            [M]anagement continued to build risk identification and management capabilities,
            especially in the areas of cybersecurity, credit monitoring, and capital planning, and is
            committed to effective, proactive, and sustainable operation of these capabilities.


     244.          Capital One’s 2019 proxy statement, filed with the SEC on March 20, 2019 and

  sent on behalf of the Board of Directors that Fairbank chaired, provided:

            As a financial services company entrusted with the safeguarding of sensitive
            information, our Board believes that a strong enterprise cyber program is vital to
            effective cyber risk management. Accordingly, our Board is actively engaged in the
            oversight of the Company’s cyber risk profile, enterprise cyber program and key enterprise
            cyber initiatives. The Risk Committee receives regular updates from management on its

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            cyber event preparedness efforts. The Risk Committee receives regular quarterly reports
            from the Chief Information Security Officer on the Company’s cyber risk profile and
            enterprise cyber program and meets with the Chief Information Security Officer at least
            twice annually. The Risk Committee also meets periodically with third-party experts, as
            appropriate, to evaluate the Company’s enterprise cyber program. The Risk Committee
            annually reviews and recommends the Company’s information security policy and
            information security program to the Board for approval. The Risk Committee is also
            responsible for overseeing cyber, information security, and technology risk, as well as
            management’s actions to identify, assess, mitigate, and remediate material issues. At least
            annually, the Board reviews and discusses the Company’s technology strategy with the
            Chief Information Officer and approves the Company’s technology strategic plan.
            Additionally, the Risk Committee receives and reviews reports from the Chief Information
            Officer and the Chief Information Security Officer regarding significant cyber incidents
            impacting the Company, including management’s assessment of the root cause and
            relevant learnings from the incident.
                                        *       *       *       *      *
            We continued to strengthen our risk and control environment and build risk identification
            and management capabilities, particularly in the areas of cybersecurity, credit monitoring
            and capital planning.

     245.          On May 20, 21, 22, or 23, 2019, Defendant Alexander spoke at the Collision

  Conference in Toronto, an event attended by 921 journalists and more than 850 Venture Capital

  firms and angel investors. Alexander stated that:

            We’ve been at the forefront of a pretty significant transformation. For example, you know,
            we are one of the furthest along in terms of actually migrating a legacy enterprise fully to
            the cloud. Along the way – and by the way, we’ve done that in an industry that is highly
            regulated, you know, sensitive data, security is paramount, and so we’ve had to really be
            thoughtful and careful, you know really invest in great engineering to make that journey
            work.

     246.          The emphasized statements in this section were false and misleading because,

  knowingly or with reckless disregard, Defendants gave the misleading impression that Capital One

  had met and exceeded the regulatory requirements of and customer expectations concerning

  cybersecurity when in truth, Capital One was sacrificing cybersecurity by creating dangerously

  large data pools, granting widespread access, failing to monitor data requests, and failing to encrypt

  data, as more fully set out in ¶¶105-170, above.




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  E.          Defendants Claimed that the Customer Data It Placed On Its Server was Effectively
              Encrypted

       247.          Defendants claimed that Capital One had encrypted the data it placed on the cloud

  and that this encryption provided a level of defense against infiltration by hackers.

       248.          In 2016, Capital One announced that one of its senior employees, Kapil Thangavelu

  had developed a new product it called Cloud Custodian. Mr. Thangavelu presented Cloud

  Custodian in multiple industry events. Most notably, Cloud Custodian was the subject of Mr.

  Thangavelu’s keynote address at the AWS re:invent 2018 conference attended by tens of thousands

  of industry professionals, journalists, and other interested persons.

       249.          Capital One billed Cloud Custodian as a comprehensive cloud security tool which

  would automatically detect and fix security flaws. In particular, Defendants boasted that Cloud

  Custodian would automatically encrypt unencrypted data on Capital One’s servers (or on any

  public cloud servers it leased).

       250.          On November 30, 2016, the Wall Street Journal’s CIO Journal published an article

  titled CIO Voices: Capital One’s Rob Alexander on How to Win in Banking, in which Defendant

  Alexander was quoted as saying:

              <Q> Is open source important?
              <Alexander> We’re embracing open source for all of our new software and we contribute
              back to the community with our own products. We launched a tool called Cloud Custodian
              that we built to ensure that we encrypt all data that goes to the cloud. Cloud Custodian
              monitors our deployment in the public cloud to make sure all the things we deploy comply.
              If something’s not encrypted, it will automatically encrypt it.

       251.          On June 25, 2019, at the AWS re:inforce conference, in prepared remarks,

  Defendant Johnson stated that Capital One’s cloud protections include “forced data encryption,”

  referring to Cloud Custodian.

       252.          Capital One’s 2015, 2016, 2017, and 2018 10-Ks, all of which were signed by

  Defendant Fairbank, provided that “[w]e believe we have a robust suite of authentication and

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  layered information security controls, including our cyber threat analytics, data encryption and

  tokenization technologies, anti-malware defenses and vulnerability management program.”

       253.         Capital One’s annual privacy notice to credit card holders stated “[t]o protet your

  personal information from unauthorized access and use, we use security measures that comply

  with federal law. These measures include computer safeguards and secured files and buildings.”

       254.         The foregoing statements, issued knowingly or with reckless disregard, were false

  and misleading. In fact, as described more fully at ¶¶105-170, above: (a) Capital One’s overbroad

  granting of permissions, adopted to further its digital transformation, allowed any user with a

  Capital One username and password to decrypt data lakes; (b) by necessity, any user who breached

  Capital One’s firewall would be assigned a Capital One username and password; and (c) as a result,

  even if Capital One did encrypt data on its server, such encryption was no encryption at all because

  any successful breach of Capital One’s firewall would necessarily decrypt the data.

  F.          Defendants Claimed They Followed Reasonable Access Frequency and Retention
              Period

       255.         In Press Releases dated December 5, 2017, and October 31, 2017, Defendants

  stated that Capital One was “[a]ligned with the Consumer Financial Protection Bureau’s

  [“CFPB”] recently released principles” on data security (“CFPB Principles”).

       256.         In a November 6, 2017 article published on the American Banker, Rebecca

  Hieronimous, Capital One’s Vice President of Enterprise Digital Products and Data Connections,

  was quoted as saying that “We are very aligned with the CFPB principles. As a company, we’re

  100% focused on ensuring that we have a secure, transparent way for our customers to access

  their data where they’re in control.”

       257.         The CFPB Principles, dated October 18, 2017, provided among other things that:




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                a. “Authorized terms of access, storage, use, and disposal are [] not overly broad, and

                   consistent with the consumer’s reasonable expectations in light of the product(s) or

                   service(s) selected by the customer. Terms of data access include access frequency,

                   data scope, and retention period.”

                b. “Consumer data are maintained in a manner and in formats that deter and protect

                   against security breaches and prevent harm to consumers.”

       258.        The foregoing statements, issued knowingly or with reckless disregard, were false

  and misleading. In fact: (a) Capital One’s overbroad permissions, adopted to further its digital

  transformation, allowed any user with a Capital One username and password to decrypt the data

  lake; (b) by necessity, any user who breached Capital One’s firewall would be assigned a Capital

  One username and password; (c) as a result, even if Capital One did encrypt data on its server,

  such encryption was no encryption at all because any successful breach of Capital One’s firewall

  would necessarily decrypt the data; (d) Capital One’s retention period and data scope did not

  comply with the customer’s reasonable expectation of retention periods and data scope, in that

  customers applying for Capital One credit cards in 2005 would not imagine that Capital One still

  retained their social security numbers, among other data, fourteen years later; (e) Capital One’s

  access frequency did not comply did not comply with the customer’s reasonable expectation of

  access frequency, in that customers would not imagine that their data would be accessible to

  virtually anyone at Capital One to facilitate more rapid development of software and machine

  learning, as described more fully in ¶¶105-170, above.

 IX.          PLAINTIFF’S CLASS ACTION ALLEGATIONS

       259.        Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all persons who purchased or

  acquired Capital One common stock during the Class Period, did not sell such shares prior to July
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  29, 2019, and were damaged thereby. Excluded from the Class are Defendants, all present and

  former officers and directors of Capital One and any subsidiary thereof, members of such excluded

  persons’ families and their legal representatives, heirs, successors or assigns and any entity which

  such excluded persons controlled or in which they have or had a controlling interest.

     260.        The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Capital One securities were actively traded on the

  New York Stock Exchange (“NYSE”). While the exact number of Class members is unknown to

  Plaintiff at this time and can be ascertained only through appropriate discovery, Plaintiff believes

  that there are thousands of members in the proposed Class. Record owners and other members of

  the Class may be identified from records maintained by Capital One or its transfer agent and may

  be notified of the pendency of this action by mail or other forms of notice similar to that

  customarily used in securities class actions.

     261.        Plaintiff’s claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

     262.        Plaintiff will fairly and adequately protect the interests of the members of the Class

  and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

  no interests antagonistic to or in conflict with those of the Class.

     263.        Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

             a. whether the federal securities laws were violated by Defendants’ acts as alleged

                 herein;



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             b. whether statements made by Defendants to the investing public during the Class

                 Period misrepresented material facts about the business, operations and

                 management of Capital One;

             c. whether the Individual Defendants caused Capital One to issue false and

                 misleading financial statements during the Class Period;

             d. whether Defendants acted knowingly or recklessly in issuing false and misleading

                 financial statements;

             e. whether the prices of Capital One securities during the Class Period were

                 artificially inflated because of the Defendants’ conduct complained of herein; and

             f. whether the members of the Class have sustained damages and, if so, what is the

                 proper measure of damages.

     264.        A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

  damages suffered by individual Class members may be relatively small, the expense and burden

  of individual litigation make it impossible for members of the Class to redress individually the

  wrongs done to them. There will be no difficulty in the management of this action as a class action.

     265.        Plaintiff may rely, in part, upon the presumption of reliance established by the

  fraud-on-the-market doctrine in that:

             a. Defendants made public misrepresentations or failed to disclose material facts

                 during the Class Period;

             b. the omissions and misrepresentations were material;

             c. Capital One securities are traded in an efficient market, in that;




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                       i. Over 3 trillion of Capital One’s shares were traded with heavy volume on

                          the NYSE during the Class Period;

                      ii. Capital One was covered by more than 10 analysts;

                      iii. As an NYSE-traded stock, Capital One had a designated market maker

                          which made a market in Capital One’s shares, and in addition, more than

                          100 market makers made a market in Capital One’s shares;

                      iv. Throughout the Class Period, Capital One met the requirements for filing a

                          Registration Statement on Form S-3;

               d. the misrepresentations and omissions alleged would tend to induce a reasonable

                  investor to misjudge the value of Capital One’s securities; and

               e. Plaintiff and members of the Class purchased or acquired Capital One securities

                  between the time the Defendants failed to disclose or misrepresented material facts

                  and the time the true facts were disclosed, without knowledge of the omitted or

                  misrepresented facts.

     266.         Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

  presumption of reliance upon the integrity of the market.

     267.         Alternatively, Plaintiff and the members of the Class are entitled to the presumption

  of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

  United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information.

                                               COUNT I

            For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
            Against All Defendants

     268.         Plaintiff repeats and realleges each and every allegation contained above as if fully

  set forth herein.


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     269.        This Count is asserted against Defendants is based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

     270.         During the Class Period, Defendants, individually and in concert, directly or

  indirectly, disseminated or approved the false statements specified above, which they knew or

  deliberately disregarded were misleading in that they contained misrepresentations and failed to

  disclose material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

     271.        Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

             a. employed devices, schemes and artifices to defraud;

             b. made untrue statements of material facts or omitted to state material facts necessary

                 in order to make the statements made, in light of the circumstances under which

                 they were made, not misleading; or

             c. engaged in acts, practices and a course of business that operated as a fraud or deceit

                 upon plaintiff and others similarly situated in connection with their purchases of

                 Capital One securities during the Class Period.

     272.        Defendants acted with scienter in that they knew that the public documents and

  statements issued or disseminated in the name of Capital One were materially false and misleading;

  knew that such statements or documents would be issued or disseminated to the investing public;

  and knowingly and substantially participated, or acquiesced in the issuance or dissemination of

  such statements or documents as primary violations of the securities laws. These defendants by

  virtue of their receipt of information reflecting the true facts of Capital One, their control over,

  and/or receipt and/or modification of Capital One’s allegedly materially misleading statements,




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  and/or their associations with the Company which made them privy to confidential proprietary

  information concerning Capital One, participated in the fraudulent scheme alleged herein.

     273.         Individual Defendants, who are the senior officers and/or directors of the

  Company, had actual knowledge of the material omissions and/or the falsity of the material

  statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

  or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

  disclose the true facts in the statements made by them or other Capital One personnel to members

  of the investing public, including Plaintiff and the Class.

     274.         The Company is liable for the acts of the Individual Defendants and its employees,

  including Brady, Hieronimous, Crawford, Norris, and Blackley, under the doctrine of respondeat

  superior and common law principles of agency because all of the wrongful acts complained of

  herein were carried out within the scope of their employment.

     275.         The scienter of the Individual Defendants and other employees and agents of the

  Company, including Brady, Hieronimous, Crawford, Norris, and Blackley, is similarly imputed to

  the Company under respondeat superior and agency principles.

     276.         As a result of the foregoing, the market price of Capital One securities was

  artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

  Plaintiff and the other members of the Class relied on the statements described above and/or the

  integrity of the market price of Capital One securities during the Class Period in purchasing Capital

  One securities at prices that were artificially inflated as a result of Defendants’ false and misleading

  statements.

     277.         Had Plaintiff and the other members of the Class been aware that the market price

  of Capital One securities had been artificially and falsely inflated by Defendants’ misleading



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  statements and by the material adverse information which Defendants did not disclose, they would

  not have purchased Capital One securities at the artificially inflated prices that they did, or at all.

     278.          As a result of the wrongful conduct alleged herein, Plaintiff and other members of

  the Class have suffered damages in an amount to be established at trial.

     279.         By reason of the foregoing, Defendants have violated Section 10(b) of the 1934 Act

  and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members of

  the Class for substantial damages which they suffered in connection with their purchase of Capital

  One securities during the Class Period.

                                               COUNT II

            Violations of Section 20(a) of the Exchange Act Against the Individual Defendants

     280.         Plaintiff repeats and realleges each and every allegation contained in the foregoing

  paragraphs as if fully set forth herein.

     281.         During the Class Period, the Individual Defendants participated in the operation

  and management of Capital One, and conducted and participated, directly and indirectly, in the

  conduct of Capital One’s business affairs. Because of their senior positions, they knew the adverse

  non-public information about Capital One’s misstatement of revenue and profit and false financial

  statements.

     282.         As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to Capital

  One’s financial condition and results of operations, and to correct promptly any public statements

  issued by Capital One which had become materially false or misleading.

     283.          Because of their positions of control and authority as senior officers, the Individual

  Defendants were able to, and did, control the contents of the various reports, press releases and

  public filings which Capital One disseminated in the marketplace during the Class Period

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  concerning Capital One’s results of operations. Throughout the Class Period, the Individual

  Defendants exercised their power and authority to cause Capital One to engage in the wrongful

  acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

  Capital One within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

  participated in the unlawful conduct alleged which artificially inflated the market price of Capital

  One securities.

      284.          By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by Capital One.

 X.          PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment and
  relief as follows:
                a. declaring this action to be a proper class action, designating plaintiff as Lead

                    Plaintiff and certifying plaintiff as a class representative under Rule 23 of the

                    Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead

                    Counsel;

                b. awarding damages in favor of plaintiff and the other Class members against all

                    defendants, jointly and severally, together with interest thereon;

                c. awarding plaintiff and the Class reasonable costs and expenses incurred in this

                    action, including counsel fees and expert fees; and

                d. awarding plaintiff and other members of the Class such other and further relief as

                    the Court may deem just and proper.

                                        DEMAND FOR TRIAL BY JURY

             Plaintiff hereby demands a trial by jury.




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  Dated: January 17, 2020            Respectfully submitted,

                                     THE LAW FIRM OF CARLTON F.
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the Court’s

  CM/ECF System on counsel of record on 17th day of January 2020.




                                                           /s/ Carlton F. Bennett




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